Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 1 of 109

EXHIBIT D
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 2 of 109

Case No: 2009 Folio 1099
Neutral Citation Number: [2010] EWHC 1779 (Comm)

IN THE HIGH COURT OF JUSTICE
QUEEN'S BENCH DIVISION
COMMERCIAL COURT

IN PRIVATE

Royal Courts of Justice
Strand, London, WC2A 2LL

Date: 16/07/2010

Before :

MR. JUSTICE TEARE

Between :
JSC BTA BANK Claimant

- and -
MUKHTAR ABLYAZOV Defendant

Stephen Smith QC, Clive Jones and Tim Akkouh (instructed by Hogan Lovells
International LLP) for the Claimant
Anthony Trace QC, Duncan Matthews QC, Lawrence Akka, Thomas Grant and
Alexander Winter (instructed by Stephenson Harwood) for the Defendant

Hearing dates: 25-28 May and 8 June 2010 (with further evidence and written submissions being
completed on 7 July 2010)

Judgment
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 3 of 109

Mr. Justice Teare:
l, This is an extraordinary case.

2. The Claimant (“the Bank”) is a bank in Kazakhstan, 75.1% of whose share capital
has, since 2 February 2009, been owned by the State of Kazakhstan through a
sovereign wealth fund, Samruk-Kazyna. On that date the State effectively took
control of the Bank when, according to the evidence of the Bank, there was significant
concern as to the ability of the Bank to continue as a going concern. The Bank’s
accounts for the year ending 31 December 2008 recorded a negative equity of about
US$6.1 billion. Its debts, which are said to amount to US$12 billion, are being
restructured pursuant to the law of Kazakhstan.

3, The Defendant (“Mr. Ablyazov”) is the former chairman of the Bank and is accused
by the Bank of “widespread misappropriation of the Bank’s funds.” It is said that he
has treated the Bank “as if it were his own private source of funds”. Four claims have
now been issued in this jurisdiction against Mr. Ablyazov. The total sum claimed is in
excess of US$1.8 billion. Further claims are anticipated which I was told will bring
the total sum claimed to US$4 billion.

4, Mr. Ablyazov denies these claims. He states that the claims are an attempt by the
President of Kazakhstan, Nursultan Nazarbayev, to take control of his assets in
support of a politically motivated claim against Mr. Ablyazov, who is a leading figure
in Kazakhstan’s democratic opposition. His evidence paints a chilling picture of life
in Kazakhstan where power resides with the President and the members of his family
and close associates, where the rule of law is not respected and where dissent is
ruthlessly eliminated. In 2003 Mr. Ablyazov was arrested and imprisoned and his
assets seized after what he and others have said was a politically motivated trial.
Whilst imprisoned on what he says were “trumped-up” charges he says that he was
subjected to mistreatment, torture and an unsuccessful plot to assassinate him and that
his assets were “distributed to the President’s coterie”. He says that political
assassination is used in Kazakhstan as a means of silencing opposition and that there
was a further attempt to assassinate him in 2004 in Moscow. His evidence suggests
that Kazakhstan has much in common with Ancient Rome.

5. In late January 2009 Mr. Ablyazov was forced to leave Kazakhstan hurriedly. He
arrived in London where he now lives with his wife and three of his four children in a
house in Bishop’s Avenue . He is seeking permanent leave to remain in this country.
In August 2009 these proceedings were commenced and a Freezing Order was issued
against him together with an order restraining him from leaving the jurisdiction and
requiring him to surrender his passport.

6. When he disclosed his assets pursuant to the Freezing Order they were said to be
worth, in total, several billion US dollars. Since then, as a result of corrections and
further evidence, he appears to value his assets in a somewhat smaller figure but the
valuation is still in excess of one billion US dollars.

7. Mr. Ablyazov does not hold his assets in his own name. Rather, a trusted associate
appears to hold shares in a holding company on his behalf and by that means controls
the shareholdings in a chain of other companies at the bottom of which chain is an
operating business. The use of a nominee and of companies registered in offshore
10.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 4 of 109

jurisdictions makes it difficult to trace his assets. He says that the elaborate scheme by
which he owns his assets is necessary to protect him from unlawful depredations by
the President of Kazakhstan.

The Court has to determine three applications. The first is an application by the Bank
for the appointment of a receiver over Mr. Ablyazov’s assets in support of the
Freezing Order (“the receivership application”). The second is an application by Mr.
Ablyazov for clarification as to the ambit of the Angel Bell liberty to deal with assets
in the ordinary course of business (“the clarification application”), The third is an
application by Mr. Ablyazov for the return of his passport (“the passport
application”).

Although this case is still only at an interlocutory stage it is apparent that it is being
fought by means of the forensic equivalent of trench warfare. Very considerable
evidence in writing has been exchanged. A great many points have been taken. Every
response is met with a determined counter attack on a related but different point to
which in turn a response is provided. And so the process goes on. Progress, if any, is
slow. The Skeleton Argument of Mr. Smith QC on behalf of the Bank ran to some 91
pages. The Skeleton Argument of Mr. Trace QC for Mr. Ablyazov on the receivership
application ran to some 110 pages and the Skeleton Argument of Mr. Matthews QC
on behalf of Mr. Ablyazov on the clarification and passport applications ran to a
modest 30 pages. The hearing required 4 and half days. Liberty was given for further
evidence on discrete topics, together with further written submissions, to be filed after
the hearing.

Whilst I have attempted to consider all of the many points canvassed in evidence and
argument I have restricted this judgment, in order to ensure that it is of manageable
size, to the principal points taken by the parties and in particular to those points which
have enabled me to decide the applications before the Court.

The Receivership Application

 

11.

12.

13.

14.

Pursuant to a judgment and order of mine dated 17 March 2010 this application is
being heard in private.

The court’s power to order the appointment of a receiver derives from section 37 of
the Supreme Court (now Senior Courts) Court Act 1981. The court may appoint a
receiver “in all cases in which appears to the court to be just and convenient to do so.”

In deciding whether it is just and convenient to make the order all the circumstances
of the case must be considered. Those circumstances cannot be exhaustively defined
but the context of the present case, where a Receivership Order is sought in support of
a Freezing Order, suggests, as a matter of principle, that at least the following matters
should be considered.

The appointment of a receiver prior to judgment displaces the defendant as the person
in control of his assets. It is therefore an invasive remedy. When a Receivership Order
is sought in support of a Freezing Order the court should therefore ask itself whether
the Freezing Order has provided the claimant with adequate protection against the risk
that the defendant’s assets may be dissipated prior to judgment. For if it does provide
15.

16.

17.

18.

19,

20.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 5 of 109

adequate protection the Receivership Order will not be necessary and it will therefore
be neither just nor convenient to grant the invasive remedy of a Receivership Order.

In a case where there is evidence that a defendant has breached or is about to breach
the terms of a Freezing Order the court may well conclude that the Freezing Order
does not provide the claimant with adequate protection against the risk that a
defendant’s assets may be dissipated before judgment. It was suggested that such
evidence is the only evidence capable of founding such a conclusion. I disagree.
There may be other circumstances which show that the defendant cannot be trusted to
obey the Freezing Order. In the present case reliance is placed on the defendant’s
inadequate disclosure of his assets. In my judgment inadequate disclosure may,
depending on the circumstances of the case, enable the court to conclude that the
Freezing Order does not provide the claimant with adequate protection.

The risk that the appointment of a receiver may cause harm to the interests of the
defendant will also have to be considered as will the adequacy of the claimant’s
undertaking in damages and any fortification of that undertaking which is offered.
The potential for harm is greater where, as in this case, the application is to appoint a
receiver over all of a defendant’s assets. In such a case precisely how the receivers
plan to take control of the defendant’s assets will be a material consideration because
it will have a bearing upon the damage likely to be caused to the defendant’s interests.

In all cases the court will have to weigh the competing factors in order to determine
whether the making of a Receivership Order is just and convenient.

I have been referred to two cases in which the power to make a Receivership Order
has been exercised in support of a Freezing Order prior to judgment; Derby v Weldon
(Nos. 3 and 4) 7 November 1988 (unreported at first instance) and [1990] Ch.65 in the
Court of Appeal and ICIC v Adham [1998] BCC 134. In Don King Productions Inc. v
Warren [1999] 2 Lloyd’s Reports 392 the court decided not to exercise the power.

Since both parties have relied upon these cases it is necessary to note the approach of
the court in each of those cases.

In Derby v Weldon Sir Nicholas Browne-Wilkinson, Vice Chancellor, appointed
receivers over assets of a defendant against whom a freezing order had earlier been
issued. The cause of action alleged was conspiracy to defraud and the amount of the
claim was in excess of £25m. During the application for a freezing order the stance of
the defendant had been one of “taciturnity” and non-disclosure. But on the last day of
the hearing it was said that the defendant held certain assets. Another defendant, to
whom over £50m. had been paid, had no assets. That disclosure led to the application
for a receivership order. Counsel for the defendant against whom the receivership
order was sought presented no argument to the court on the question whether
receivers should be appointed. The Vice Chancellor granted the order sought. He held
that there was jurisdiction to appoint a receiver in aid of a freezing order. That should
be done where “the proper preservation” of assets required the introduction of a
receiver to hold the assets. He said that the history of the case had given rise to
suspicion and alarm and there was a pattern of dissipation of assets. There was an
appeal from that decision and the decision to grant a freezing order. The Court of
Appeal dismissed the appeal. The argument on appeal concerned the grant of the
freezing order and the extra-territorial effect of that order and the receivership order.
21.

22.

23,

24.

25,

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 6 of 109

The basis on which the Vice-Chancellor had made the receivership order was not
disturbed and little was said about it. The decision is therefore consistent with the
principle that a receiver may be appointed in support of a freezing order where to do
So is necessary to preserve assets and prevent their dissipation prior to trial.

In ICIC v Adham a receiver had been appointed ex parte. The cause of action relied
upon was again fraud and it appears that a court in the Cayman Islands had already
found some or all of the defendants liable in respect of fraud. A receiver was
appointed in support of a freezing order. The subject of the receivership order was
real property. An application was made to discharge or vary the ex parte order. Robert
Walker J. refused to do so. He was not convinced that the defendants could be
“trusted” to obey the orders of the court and “not to continue to do their best to evade
orders that have been made against them”. He said that:

“the court will, on appropriate occasions, take drastic action
and will not allow its orders to be evaded by manipulation of
shadowy offshore trusts and companies formed in jurisdictions
where secrecy is highly prized and official regulation is at a
low level.”

Again, the decision is consistent with the principle that a receiver may be appointed in
support of a freezing order where to do so is necessary to preserve assets and prevent
their dissipation prior to trial.

In Don King Productions Inc. v Warren a winding up of the affairs of a partnership
and a freezing order had been ordered. The claimants said that neither order had been
complied with and sought the appointment of a receiver. It was submitted that the
court should make such an order

“where there is a Mareva injunction and a protective regime
and where there is strong evidence to suggest at an
interlocutory stage that the Mareva injunction and the
protective regime are being breached.”

Neuberger J. accepted that submission “as a matter of principle”. However, the judge
declined to appoint a receiver. He reached the conclusion that, “balancing the various
competing factors, it would not be right to appoint a receiver...” Amongst the matters
he took into account were “the real risk of substantial irrevocable damage to Mr.
Warren’s business ...... as a result of the appointment of a receiver” and that
additional protection could be given to the claimants by certain undertakings offered
by Mr. Warren. This decision not only supports the principle that a receiver may be
appointed in support of a freezing order where to do so is necessary to preserve assets
and prevent their dissipation prior to trial but also supports the principle that the court
must consider the effect of the order on the defendant and ultimately balance the
competing factors in order to decide whether the appointment of a receiver is just and
convenient in all the circumstances of the case.

I consider that these cases illustrate the type of circumstances in which the court may
conclude that it is just and convenient to make a Receivership Order. They support the
approach which I consider should be followed as a matter of principle where a
receivership order is sought in support of a freezing order. It was submitted by Mr.
26.

27,

28.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 7 of 109

Trace QC (counsel for Mr. Ablyazov on the receivership application) that where a
receivership order is sought in support of a freezing order there must be strong
evidence that the freezing order is being breached. Whilst such evidence will clearly
support a submission that a receivership order is necessary to prevent dissipation of
assets notwithstanding the existence of a freezing order I do not consider that such
evidence of breach must always exist before a receivership order can be made in
support of a freezing order. I do not understand the comments of Neuberger J. in Don
King Productions Inc. v Warren to require such evidence. There was such evidence in
that case and a submission was made on the basis of such evidence. The acceptance of
that submission does not entail that such evidence must be adduced where a
receivership order is sought in support of a freezing order.

The following passage in Gee on Commercial Injunctions 5" ed. at paragraph 16.008
reflects what I consider to be the right approach:

“The nature of the remedy [receivership] is more intrusive,
more expensive, and less reversible than the granting of an
injunction. The receiver has to be paid. The defendant no
longer has control of the assets. Irreparable damage may be
done to the business of the defendant through the publicity. The
claimant must show that the appointment is appropriate because
other less invasive remedies would be inadequate. If the
claimant has contractual or other rights as to how assets may or
may not be used (eg a negative pledge), then before appointing
a receiver the court will consider whether damages or an
injunction is a sufficient remedy. The court, in exercising its
discretion, will take into account the likely costs of the
appointment. Ordinarily an unsecured creditor is left to obtain
judgment and then to enforce his judgment with the assistance
of a receiver.”

Mr. Trace relied upon passages in textbooks and suggested that they showed that a
clear case must be established and that the risk to the defendant must be very small;
see The Law Relating to Receivers, Managers, and Administrators by Picarda 4" ed.
at p.359, Kerr and Hunter on Receivers and Adminstrators 19 ed. at 2-35 and
Halsbury’s Laws Vol. 39(2) at paragraph 339. The principle relied upon by Mr. Trace
was said to derive support from the case of Owen v Homan (1853) 4 HL Cas 997.

Owen v Homan was a case in which the defendant was being sued under promissory
notes which purported to have been executed jointly by the defendant and her
nephew. The defendant denied liability and alleged that she had been defrauded by
her nephew. The plaintiff thereupon sought the appointment of a receiver. The Lord
Chancellor said at p.1032-3:

“No positive unvarying rule can be laid down as to whether the
Court will or will not interfere by this kind of interim
protection of the property. ........... But where the object of the
Plaintiff is to assert a right to the property of which the
Defendant is in the enjoyment, the case is necessarily involved
in further questions. The Court by taking possession at the
instance of the Plaintiff may be doing a wrong to the
29.

30.

31,

32.

33.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 8 of 109

Defendant; in some cases an irreparable wrong. If the Plaintiff
should eventually fail in establishing his right against the
defendant, the Court may by its interim interference have
caused mischief to the defendant for which the subsequent
restoration of the property may afford no adequate
compensation. In all cases, therefore, where the Court interferes
by appointing a receiver of property in the possession of the
Defendant before a title of the Defendant is established by
decree, it exercises a discretion to be governed by all the
circumstances of the case.

When the evidence on which the Court is to act .....is very clear
in favour of the Plaintiff, then the risk of eventual injury to the
Defendant is very small, and the Court does not hesitate to act.
Where there is more of a doubt, there is of course more of
difficulty; the question is one of degree, as to which, therefore,
it is impossible to lay down any precise and unvarying

93

It is apparent from that passage that whilst a receivership order may be expected in a
clear case with a small risk of injury to the Defendant those are not the only cases
where a receivership order may be obtained. I am therefore unable to accept Mr.
Trace’s submission that a clear case and small risk of injury are always required. That
submission does not faithfully reflect what was said in Owen v Homan.

Owen v Homan did not consider the grant of a Receivership Order in support of a
Freezing Order (such an order did not then exist) but the three modern cases to which
I have referred did. The latter cases may therefore be considered as better guides to
the appropriate exercise of the court’s discretion in this case than Owen v Homan.

I was also referred to authorities from other jurisdictions, in particular the Australian
cases of Ballabil Holdings Pty Lid. v Hospital Products Ltd. (1985) 1 NSWLR 155
and National Australia Bank v Bond Brewing Holdings [1991] VLR 386 and the
Singaporean case of Wallace Kevin James v Merrill Lynch International Bank [1998]
1 SLR 785.

In Ballabil Holdings Pty Ltd. v Hospital Products Ltd. Street CJ observed that if the
jurisdiction to appoint a receiver pending determination of a claim existed “it would
obviously require a most exceptional case for it to be exercised, bearing in mind the
grave consequences which ensue to a company placed under receivership.”

In National Australia Bank v Bond Brewing Holdings the Appeal Division of the
Supreme Court of Victoria emphasised that particular caution is required when a
receiver is sought over all of a defendant’s assets.

“...the appointment of a receiver in such a case authorises an
irresistible invasion and that even if the army of occupation is
withdrawn after only a short time things may never be the same
again.....No court will make such an order unless convinced of
its necessity. A case for some kind and degree of interlocutory
relief may be made out which falls short of this extremely
34,

35.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 9 of 109

drastic remedy; for example, the court may not be satisfied —
and it is of course for the applicant to persuade the court that
nothing less than what he seeks will do — that in all the
circumstances it should do more than grant an injunction. At
times the court will be induced to refuse the remedy of a
receiver by undertakings offered by the defendant.”

That approach was followed by the Court of Appeal of Singapore in Wallace Kevin
James v Merrill Lynch International Bank .

These authorities from other common law jurisdictions highlight the damage which a
receivership order may cause. They therefore emphasise that good reason must be
shown to appoint a receiver and that in all cases the consequences to the defendant
must always be carefully weighed in the balance before concluding that it is just and
convenient to appoint the receiver.

The matters relied upon in the present case

36.

Mr. Smith QC, counsel for the Bank, relied upon 13 matters in support of his
submission that the Receivership Order was just and convenient. They may be
reduced to 8 (because some are different aspects of the same point) as follows:

i)

vi)

vii)

viii)

The Bank has a good arguable case that Mr. Ablyazov has defrauded it of huge
sums of money and there is a serious risk that Mr. Ablyazov will dissipate his
assets.

The structure by which Mr. Ablyazov holds his assets is “more than a
paradigm example” of the sort of case which cries out for a Receivership
Order. In particular, the nominees who act for Mr. Ablyazov do whatever Mr.
Ablyazov requires and use is made of corporate structures in jurisdictions
“renowned for their secrecy and light regulation.”

Mr. Ablyazov has breached the Freezing Order.

Mr. Ablyazov’s disclosure of his assets has been evasive which has been
underscored by his failure to reveal dealings in his assets.

The Restricted Information regime (by which information disclosed by Mr.
Ablyazov can only be seen by those advising the Bank, rather than the Bank
itself) is a serious fetter on the ability of the Bank to police the Freezing Order
and there is reason to believe that Mr. Ablyazov has an ulterior motive for
insisting on the Restricted Information regime, namely, seeking to ensure that
the Bank does not learn that other bad “loans” made by the Bank were in
connection with assets now claimed by Mr. Ablyazov.

Drey, the Fourth Defendant, sought to assert the privilege against self-
incrimination in circumstances which suggested money laundering offences by
Mr. Ablyazov.

The proposed Receivership Order is proportionate and reasonable.

There is no good reason for not making the Receivership Order.
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 10 of 109

Good arguable case and risk of dissipation

37.

38.

39.

These two matters reflect my decision to continue the Freezing Order on 12
November 2009. On that occasion Mr. Ablyazov did not contend that the Bank lacked
a good arguable case that Mr. Ablyazov had defrauded the Bank of $295m. (“the Drey
Proceedings”). The position on the present applications (after some discussion) is the
same save that Mr. Ablyazov contends that the Bank does not have a good arguable
case with regard to its proprietary claim and he has now issued an application to stay
the Drey Proceedings (and presumably the other two sets of proceedings brought
against him, namely, the Chrysopa Proceedings and the Tekhinvest Proceedings) on
the grounds that they are an abuse of the process of the court. Mr. Ablyazov maintains
that he has good defences not only to the Drey Proceedings but also to the other two
sets of proceedings issued in this court. However, no argument was addressed to me
on the merits of either the claims or the defences (save with regard to the proprietary
claim in the Drey Proceedings). In those circumstances I shall proceed on the basis
that the Bank has a good arguable claim in each of the three sets of proceedings. With
regard to the proprietary claim in the Drey Proceedings I shall comment on that later
in this judgment. Mr. Trace has reserved Mr. Ablyazov’s right to argue on any future
application that the Bank lacks a good arguable case.

In my judgment of 12 November 2009 [2009] EWHC 2840 (Comm) I held that there
was a real risk that Mr. Ablyazov’s assets would be dissipated prior to trial; see
paragraphs 10-19 of that judgment.

So far as I am aware there was no appeal against my decision to continue the Freezing
Order. Mr. Trace submitted that a risk of dissipation by itself was insufficient
justification for making a Receivership Order. I agree. That finding underpins the
Freezing Order. In order to show that a Receivership Order is just and convenient it
will usually be necessary to show that the Freezing Order does not provide the
claimant with adequate protection against the risk of dissipation. Mr. Trace further
submitted that whatever may have been the position on 12 November 2009 the
position now is that there is no risk of dissipation because Mr. Ablyazov has “bared
his soul” with regard to his assets and the Court can “trust” him to obey the Freezing
Order. Whether this is so can only be determined after I have considered the other
matters relied upon by Mr. Smith.

The structure by which Mr. Ablyazov holds his assets

40.

It is common ground that the structure by which Mr. Ablyazov holds his assets makes
it difficult for anyone who wishes to identify and seize his assets to do so. The
structure also enables Mr. Ablyazov to instruct his nominee to dispose of an asset or
to transfer an asset from one offshore company controlled by the nominee to another,
also controlled by the nominee. However, Mr. Ablyazov says that this structure was
not designed to keep creditors at bay but to keep his assets free from the unlawful
depredations of President Nazarbayev. That is not accepted by the Bank. I cannot
determine that particular dispute on this application. The question I must decide on
this application is whether, whatever the reasons were for the creation of the structure,
there is a real risk that Mr. Ablyazov will use the structure to deal with his assets in
breach of the Freezing Order with the aim of ensuring that there are no assets on
which. the Bank can execute any judgment it obtains in this court.
41,

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 11 of 109

Mr. Ablyazov has said in his Third Witness Statement dated 16 April 2010 that he
finds “the suggestion that I would dissipate my assets so as to thwart an English
judgment both ludicrous and offensive.” He wishes “to make it absolutely clear that I
would never knowingly breach an Order of the English Court.” Whether I can trust
that assurance depends upon the other matters relied upon by Mr. Smith.

Breach of the Freezing Order

42.

43,

AA,

45.

Although Mr. Smith’s Skeleton Argument and the witness statements of his
instructing solicitor Mr. Hardman suggested that there had been several breaches of
the Freezing Order, only two were relied upon by Mr. Smith in his oral submissions.
The reason why Mr. Smith’s oral submissions were restricted in this way is that until
11 December 2009 Mr. Ablyazov was entitled to dispose of or deal with assets
outside England and Wales so long as the total of his assets whether in or outside
England and Wales remained above £175m. Since the Bank is not in a position to
assess whether Mr. Ablyazov’s assets had that value on the evidence currently
available it is not in a position to allege a breach with regard to dealings before 11
December 2009. However, for the reasons given in my judgment on that date the
Freezing Order was amended so that he could only deal with his assets so long as the
total value of his assets within England and Wales exceeded £175m. Mr. Ablyazov
does not claim to have assets of that value in England and Wales. Thus disposals or
dealings in assets after that date will be a breach of the Freezing Order unless they are
“an the ordinary and proper course of any business conducted by Mr. Ablyazov
personally.”

The first breach of the Freezing Order alleged by Mr. Smith was in relation to the sale
of Mr. Ablyazov’s interest in Omsk Bank. The second was the use of the proceeds of
sale to acquire Tier 2 subordinated debt in BTA Moscow.

Mr. Ablyazov held an interest in Omsk Bank through a nominee and, in particular,
four companies Rikas Finance, TuranAlem Capital, Delta Torg and AMK-Invest.
Those four companies sold their shares in Omsk Bank on 22 January 2010. The
proceeds of sale were used to purchase debt in BTA Moscow on 11 February 2010.

Mr. Ablyazov has explained the circumstances in which these transactions took place
in his Second Witness Statement dated 16 March 2010 as follows. The shares in
Omsk Bank were owned by BTA Moscow (as to 19.99%), Rikas Finance (19.99%),
TuranAlem Capital (19.92%), Delta Torg (18.98%) and AMK Invest (9.99%). The
remainder were held by other parties unconnected with the dispute between the Bank
and Mr. Ablyazov. BTA Moscow had a branch in Omsk and so was a competitor of
Omsk Bank. It decided in 2007 to divest itself of its shares in Omsk Bank and
concentrate on building the business of BTA Moscow. The Claimant Bank had a
nominee on the board of BTA Moscow, Mr. Yuldashev, who was aware of this
strategy. It was always intended that when BTA Moscow sold its shares in Omsk
Bank, the four companies controlled by Mr. Ablyazov would do the same. In January
2010 the sale was completed. BTA Moscow received US$2.9m. for its shares, Rikas
Finance received US$2.6m. for its shares, TuranAlem received US$2.6m. for its
shares, Delta Torg received US$2.5m for its shares and AMK Invest received
US$1.3m. for its shares. On 11 February 2010 the four companies purchased
subordinated debt in BTA Moscow which carries interest at 10% and, in Mr.
Ablyazov’s view, was a “less risky investment than the holdings in Omsk Bank.”
46.

47.

48.

49.

50.

51.

52.

53.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 12 of 109

Although the Bank does not accept that these transactions were in the ordinary course
of the companies’ business or of any business conducted personally by Mr. Ablyazov,
Mr. Ablyazov’s account of the transactions has not been challenged (save that some
of the detail has been questioned by Mr. Hardman in his Fifteenth Witness Statement
dated 11 May 2010 to which Mr. Ablyazov replied in his Fourth Witness statement
dated 17 May 2010). With regard to the purchase of subordinated debt in BTA
Moscow Mr. Hardman has referred to credit ratings of BTA Moscow which suggest
that it is a very risky investment. He suggests that in any event the correct comparison
is between the cash received for the sale of the shares and the subordinated debt in
BTA Moscow.

Mr. Matthews QC, who argued the Clarification Application on behalf of Mr.
Ablyazov (which encompassed the question of breach) submitted that the sale of
Omsk Bank and the purchase of debt in BTA Moscow were transactions in the
ordinary course of business and so were not forbidden by the Freezing Order.

The Clarification Application raised a question of construction of the Freezing Order
which it is convenient to deal with in the present context.

Paragraphs 4 and 5 of the Freezing Order prohibit Mr. Ablyazov from dealing with —
any of his assets, including those which he has the power directly or indirectly to
dispose of or deal with as if they were his own. He is to be regarded as having that
power if a third party holds or controls an asset in accordance with his direct or
indirect instructions.

Paragraph 9 states that the Freezing Order does not prohibit Mr. Ablyazov from
dealing with his assets “in the ordinary and proper course of any business conducted
by him personally.” I refer to this as the Angel Bell liberty (see Iraqi Ministry of
Defence v Arcepey Shipping (The Angel Bell) [1981] 1 QB 65).

Having regard to the purpose of a Freezing Order, namely, to prevent a defendant
from dissipating his assets in order to evade enforcement of a judgment rather than to
prevent a defendant from dealing with his assets in the ordinary and proper course of
business, the natural construction of paragraph 9 is that it applies to all assets
otherwise caught by the Freezing Order, that is, those defined in paragraphs 4 and 5 of
the Order. This is the construction for which Mr. Matthews contends on behalf of Mr.
Ablyazov.

Mr. Smith contends on behalf of the Bank that although the assets of a company in
which Mr. Ablyazov is an indirect but controlling shareholder are caught by
paragraphs 4 and 5 of the Freezing Order it is the company that carries on the business
and not Mr. Ablyazov. Accordingly, the Angel Bell liberty in paragraph 9 does not
apply because that only applies to dealings which are in the ordinary and proper
course of a business conducted by him personally. Thus, on Mr. Smith’s construction
of the Freezing Order, there are assets caught by the Freezing Order which cannot be
dealt with even if it is sought to deal with them in the ordinary and proper course of
business. This seems to me to be a construction of the order which is unwarranted by
the purpose underlying a Freezing Order.

I consider Mr. Smith’s construction of the Freezing Order to be mistaken. Paragraph 5
of the Freezing Order provides a very wide definition of the assets of a defendant.
54.

55.

56.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 13 of 109

They include not only assets owned by him in his own name but also assets in respect
of which he has the power, directly or indirectly, to dispose of or deal with as if they
were his own. This wide definition is necessary because companies and individuals
“hold” their assets and conduct their businesses not only in their own name but, for a
variety of reasons, through other entities in which they hold a controlling interest. If a
narrow definition of assets were adopted, so that only assets held in the name of the
defendant were included within the definition, it would be easy for companies and
individuals to avoid the reach of a Freezing Order. However, it has long been
recognised, ever since the decision in The Angel Bell [1981] 1 QB 65, that a Freezing
Order is not intended to prevent a defendant from dealing with his assets in the
ordinary and proper course of his business. Where a defendant holds his assets and
conducts his business in his own name he will be entitled, notwithstanding the
Freezing Order, to deal with his assets in the ordinary and proper course of his
business. Where a defendant holds his assets and conducts his business through other
entities in which he holds a controlling interest there is no reason, having regard to the
principle underlying a Freezing Order, why he should not be able to deal with those
assets in the ordinary and proper course of his business, notwithstanding that the
“dealing” is in the name of the entity which nominally holds the asset and conducts
the business.

The position would be different where a defendant is a minority shareholder in a

company and so does not control it. The assets of that company would not be within
the extended definition of assets found in paragraph 5 of the Freezing Order. The
defendant would not have the power, directly or indirectly, to deal with the assets of
the company as if they were his own. Thus the assets of the company would not be
caught by the Freezing Order. Similarly any dealing with the assets of the company in
the ordinary and proper course of business would be in the ordinary and proper course
of the business of the company and not of the defendant. The Angel Bell provision
would not apply but there would be no need for it to apply.

Mr. Smith seeks, by his construction of the Freezing Order, to obtain the benefit of the
wide definition of asset in paragraph 5 of the Freezing Order, which is reflective of
the way in which many assets are held and business conducted in the modern world
(which makes considerable use, for example, of nominee off-shore companies) but
then, when applying the Angel Bell provision, seeks to revert to a bygone world in
which assets are held and business conducted only in the name of the defendant. This
construction is, in my judgment, contrary to the underlying purpose and rationale of
the Freezing Order. There is no justification in that underlying purpose and rationale
for preventing a defendant, who conducts his business through other entities which he
controls, from dealing with assets which he holds through those entities in the
ordinary and proper course of that business.

The Bank’s further case is that Mr. Ablyazov does not conduct any business
personally. Whilst he causes money to be applied in the purchase of assets and has
power to deal with those assets Mr. Ablyazov was not, it is said, conducting a
business when he exercised that power. Holding and managing one’s own assets is
not, it is said, the conduct of a business. The Bank further says that Mr. Ablyazov has
not established that the sale of Omsk Bank and the purchase of debt in BTA Moscow
was in the ordinary course of business because there is no evidence that any similar
37.

58.

59.

60.

61.

62.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 14 of 109

sale has been effected before. Finally the Bank contends that the purchase of debt was
an exceptionally poor investment and so not in the ordinary course of business.

Mr. Ablyazov holds a valuable portfolio of assets through a complex structure
involving a nominee, a holding company, subsidiary companies and, at the base of the
structure, the operating business. Mr. Smith submitted that holding and managing
one’s assets is not the conduct of a business but is the holding and managing of one’s
assets.

This submission raises both a question of law and a question of fact. The question of
law is the proper construction of “the ordinary course of business” in the Angel Bell
liberty. The question of fact is whether Mr. Ablyazov conducts a business.

In my judgment the answer to the question of law is to be found in Normid Housing v
Ralphs and Mansell [1989] 1 Lloyd’s Reports 274. Lloyd LJ, when referring to the
Angel Bell principle at p.276 lhe, said :

“But the principle extends beyond the payment of debts, or the
incurring of ordinary living expenses. It applies also to all
ordinary transactions in the course of life.”

A little later, on p.276 rhc he said:

“I do not propose myself to offer any definition of what is
meant by “ordinary course of business”. It can, perhaps, best be
regarded as the obverse of the concept of dissipating a
defendant’s assets.”

The Angel Bell liberty should therefore be construed widely and not narrowly. As
such it should be construed as extending to the activity of holding and managing
assets so long as it is not aimed at dissipating a defendant’s assets. The distinction is
drawn by Robert Goff J. in The Angel Bell itself at [1981] 1 QB 65 at pp.71-72:

“,.the point of the Mareva jurisdiction is to proceed by stealth,
to pre-empt any action by the defendant to remove his assets
from the jurisdiction. To achieve that result the injunction must
be in a wide form because, for example, a transfer by the
defendant to a collaborator in the jurisdiction could lead to the
transfer of the assets abroad by that collaborator. But it does not
follow that, having established the injunction, the court should
not thereafter permit a qualification to it to allow a transfer of
assets by the defendant if the defendant satisfies the court that
he requires the money for a purpose which does not conflict
with the policy underlying the Mareva jurisdiction...”

I therefore conclude that there is no reason in principle why the activity of holding
and managing assets should not be regarded as a business (for the purposes of the
Angel Bell liberty) so long as it is not aimed at ensuring that any judgment obtained
against a defendant will be unenforceable. If it is so aimed then it conflicts with the
policy underlying a Freezing Order and should be prohibited. A claimant is entitled to
be protected against such “artificial” dealings. But where a sale of assets takes place
63.

64.

65.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 15 of 109

for reasons which are not aimed at ensuring that any judgment will be unenforceable,
for example because the defendant wishes to reduce his holdings in a particular sector,
the defendant may conduct such sale. Similarly, the Freezing Order will prevent the
defendant from handing the proceeds of sale to a collaborator for the purpose of
protecting them from being seized by a judgment creditor. But if the defendant uses
the proceeds to purchase another asset to add to his portfolio of assets in the ordinary
course of managing that portfolio such action does not conflict with the policy
underlying the Freezing Order and is not prohibited by it.

I therefore reject the narrow or restrictive interpretation of “business” in the Angel
Beil liberty which has, I think, been advanced by Mr. Smith to the effect that it does
not encompass the activity of holding and managing one’s assets.

But even if such narrow or restrictive interpretation were appropriate in some contexts
I am unable to apply it in the present context. Thus, it may be that not everyone who
holds and manages his assets can be said to be conducting “a business”. A doctor,
architect or lawyer may hold and manage a share portfolio but may be said not to be
conducting a business in so doing. However, when a person’s assets are as large as
Mr. Ablyazov says his are, made up of controlling interests in several businesses, it
seems to me unrealistic to say that holding and managing his assets is not his
business. He manages them, not by managing the operating business at the base of the
structure, but by giving instructions to his trusted nominees. It is reasonable to assume
that such management occupies a lot of his time. When he provided his affidavit of
assets dated 27 August 2009 he said that he had had to cope with “my normal
business duties and the effects of the freezing order”. That is likely to have been a
reference to his business of managing his valuable portfolio of assets. I have taken
into account that he has not disclosed any accounts or tax returns in respect of his
business but I am unable to accept Mr. Smith’s submission that Mr. Ablyazov does
not conduct any business personally. On his evidence Mr. Ablyazov is “in business”
on a grand scale. In his Third Witness Statement dated 16 April 2010 he said:

“16. My business interests are varied, but frequently involve
the purchase, development and onward sale of commercial
companies and other assets. I currently hold interests in various
sectors. I have in the past held interests in, for example, media,
energy and sugar production businesses.

181. My business frequently involves purchasing assets which
are considered to be good investments, and managing and
developing those assets so as to increase their value and realise
a profit; such assets are then either sold to realise a profit, or
retained if they continue to be a desirable investment. In all
cases, those assets are acquired and managed via holding
companies, not by me acting as a sole trader.”

I have also taken into account that there is evidence that Mr. Ablyazov did not until
recently rely upon the Angel Bell liberty to justify dealings with his assets. Thus Mr.
Neocleous, a solicitor acting for Vetabet Holdings Limited, has said that Mr.
Ablyazov regarded the amendment to the Freezing Order made on 11 December 2009
66.

67.

68.

69.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 16 of 109

as preventing dealings in assets. However, I do not regard this as cogent evidence that
Mr. Ablyazov does not conduct a business personally. It seems to me clear that he did
but that until recently he did not appreciate that he could rely on the Angel Bell liberty
to justify his dealing with his assets.

I am also unable to accept Mr. Smith’s further submission that Mr. Ablyazov is not
conducting his business personally when he exercises a power to deal with his assets. _
If Mr. Ablyazov held shares in his own name in Omsk Bank, as part of a portfolio of
business interests which he managed, and decided to sell those shares, for example, as
part of a business strategy to move out of banking and in to another business sector,
such sale would be in the ordinary course of his business of asset management. If,
instead and as is the case on his evidence, he holds his shares in Omsk Bank not in his
own name but by means of the structure which he has described the same sale would
be in the ordinary course of his business of asset management. He would sell his
interest in Omsk Bank, not by selling shares in Omsk Bank in his own name (because
he has none) but by instructing his nominee to cause Rikas Finance, TuranAlem
Capital, Delta Torg and AMK-Invest to sell their shares in Omsk Bank. In other
words, the precise mechanism by which Mr. Ablyazov holds and deals with his assets
does not determine the question whether he is conducting his business when selling an
asset.

The important question, in the context of a suggested breach of the Freezing Order, is
whether the transactions in question were or were not in the ordinary course of his
business. In the light of Mr. Smith’s submission that Mr. Ablyazov has not established
that the sale of Omsk Bank and the purchase of debt in BTA Moscow were in the
ordinary course of business it is necessary to consider the burden of proof. That
question was considered by Moore-Bick J. in Nokia France v Interstone [2004]
EWHC 272 (Comm) at paragraphs 53-54. He held that the burden was on the person
who alleged a breach, and therefore a contempt, of the Freezing Order, to establish
such breach in “every essential respect”. I respectfully agree. On the true construction ~
of the Freezing Order a dealing in the ordinary course of the defendant’s business is
not a breach of the Freezing Order. The person who alleges a breach must therefore
prove that the dealing in question was not in the ordinary course of business.

The only evidence before the court as to the circumstances in which Mr. Ablyazov’s
interest in Omsk Bank was sold comes from Mr. Ablyazov. His evidence is to the
effect that the four companies controlled by him were always going to sell their shares
in Omsk Bank when BTA Moscow sold its shares in Omsk Bank. BTA Moscow
appears to have been considering selling its shares in Omsk Bank for some time for
what it considered were sound business reasons. There is no evidence to the contrary
and no basis on which I can reject that evidence. There is no evidence that the sales by
the four companies were aimed at putting Mr. Ablyazov’s interest in Omsk Bank
beyond the reach of the Bank if and when it has the opportunity of executing a
judgment against Mr. Ablyazov.

It was said that there is no evidence that any similar sales had been effected in the
past. However, in principle I do not consider that this needs to be shown; cf Normid
Housing v Ralphs and Mansell [1989] 1 Lloyd’s Reports 274 at p.276 rhc per Lloyd
LJ and p.278 the per Slade LJ. A transaction may be in the ordinary course of
business even though it is done only once.
70.

71.

72.

73.

74.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 17 of 109

My conclusion, based on the evidence of Mr. Ablyazov which has not been
challenged in this respect, is that the sale of his interests in Omsk Bank was in the
ordinary course of his business.

With regard to the purchase of subordinated debt in BTA Moscow the Bank advanced
a positive case that this was an exceptionally poor investment. The evidence set out in
Mr. Hardman’s Fifteenth Witness Statement as to the views of credit agencies
supports this. In addition, Mr. Hainsworth, who founded a credit agency focussing on
Russian banks and who has provided an opinion for Mr. Ablyazov, has described
BTA Moscow as “balanced on a knife edge”.

The mere fact that an investment is an exceptionally poor investment does not mean
that it cannot be made in the ordinary course of business. A similar point arose in
Normid Housing v Ralphs and Mansell where a firm of architects settled a claim.
Paraphrasing the language used in that case by Ralph Gibson LJ at p.277 rhe and
Slade LJ at p.278 rhc, the test is whether the investment is so inexplicable and
unreasonable that there appears to be no reason why Mr. Ablyazov might have
sensibly made the investment so that one can conclude that it was done in bad faith as
part of a plan to cheat the Bank.

BTA Moscow is one of a number of assets in respect of which Mr. Ablyazov has
declared ownership. It may well be that the proceeds of sale of Omsk Bank would be
safer had they remained in cash and that using them to purchase subordinated debt in
BTA Moscow is fraught with risk. But Mr. Ablyazov has said that the purchase of
debt in BTA Moscow assists it to maintain its required capitalisation. In
circumstances where Mr. Ablyazov is using the cash to provide funds to an ailing
bank which he owns I am unable to find that the purchase was not in the ordinary
course of his business. The Bank has addticed no evidence that the purchase of debt in
BTA Moscow was aimed at putting the proceeds of sale beyond the reach of the Bank
rather than being aimed at supporting BTA Moscow.

For these reasons J am unable to accept that Mr. Ablyazov has acted in breach of the
Freezing Order with regard to the sale of his interests in Omsk Bank and in his
dealings with the proceeds of sale.

Disclosure

75.

At an earlier stage in these proceedings I ordered that Mr. Ablyazov be cross-
examined as to his affidavit of assets on the grounds that his disclosure appeared at
that stage to be inadequate. Much has happened since then. Mr. Ablyazov has been
cross-examined for two days and he has provided a much fuller account of his assets
in his Third Witness Statement dated 16 April 2010 at paras. 259-378. Mr. Smith has
severely criticised Mr. Ablyazov’s approach to disclosure of his assets. He says that
the initial disclosure was incomplete and that some of his evidence when cross-
examined was misleading. He invites the court to find that Mr. Ablyazov did not
consider himself to be constrained to give the Bank (and the Court) a complete picture
of his assets such that he cannot be trusted to obey the Freezing Order. By contrast
Mr. Trace submitted that whatever the defects in the initial list of assets Mr. Ablyazov
has now “bared his soul” and can be trusted. Although a great many points were made
in Mr. Smith’s Skeleton Argument and even more by Mr. Hardman, his instructing
solicitor, in his witness statements I shall concentrate on what appear to be the four
76.

77.

78.

79.

80.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 18 of 109

most significant. They are (a) the initial disclosure of assets, (b) the “Schedule C”
disclosure, (c) the failure to mention certain dealings with the assets and (d) the trust
deeds.

(a) The initial disclosure of assets

Mr. Ablyazov’s initial list of assets attached to his affidavit dated 27 August 2009
(but delivered on 30 September 2009 after the Court of Appeal had dismissed his
appeal from my order dated 21 August 2009) can now be compared with his Third
Witness Statement in which he has identified a number of assets which are held by
means of the structure to which I have already referred.

It is helpful to illustrate the structure by reference to an example. In his initial list of
assets no.15 was an “indirect interest in Blackdesert Holdings Limited”, a British
Virgin Islands company, valued at approximately US$50m. No clue was given as to
the business or assets of Blackdesert Holdings Limited; and no explanation was given
as to the nature of Mr. Ablyazov’s indirect interest in Blackdesert Holdings Limited
save that the documents supplied with the list included a share certificate stating that
5000 shares in Blackdesert were held by Handcart Investments Limited and a further
share certificate stating that 10000 shares in Handcart were held by Company A. It
was. in those circumstances that cross-examination was ordered.

Mr. Ablyazov has stated in his Third Witness Statement that the business or asset at
the bottom of the structure (“the operating business”) was Eurasia Tower, a tower
block in Moscow comparable to Canary Wharf in London. When Mr. Ablyazov
acquired the site in 2004 it was a “bare site”. When finished it will be the tallest
building in Europe made of steel and will have 75 storeys consisting of shops on the
ground floor, office space to the 49" floor and apartments above. Some 50 storeys
have so far been built. That asset was owned by a Russian company called ZAO
Tekhinvest. Shares in Tekhinvest were owned by a Cypriot company, Company P.
99.9% of the shares in Company P were held by Blackdesert. 50% of the shares in
Blackdesert were held by Handcart Investments Limited and 50% by MCG
International Holding Limited, a company not owned by Mr. Ablyazov but by Mr.
Pavel Fuchs. Thus the Eurasia Tower project was a joint venture between Mr.
Ablyazov (through Handcart) and Mr. Fuchs (through MCG). Shares in Handcart
were held by Company A on trust for a nominee who in turn held them on trust for
Mr. Ablyazov.

I have asked myself whether Mr. Ablyazov could reasonably have been expected to
give the information provided in his Third Witness Statement as to Eurasia Tower in
his affidavit of assets dated 29 August 2009 bearing in mind the circumstance that the
Freezing Order had been served on him in London that month where, unable to speak
English, he had only recently sought refuge with his family, having hurriedly left
Kazakhstan.

Eurasia Tower was one of his “assets”. If it is comparable to Canary Wharf it is
unlikely that he did not know he had a valuable share in it. Indeed he does not claim
to have been ignorant of it. He in fact held a 50% interest in it through the chain I
have described. He must also have known that a nominee held or controlled that
interest on his behalf. Again he does not claim to have been ignorant of that. Mr.
81.

82.

83.

84.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 19 of 109

Ablyazov accepts in his Third Witness Statement that he knew “the big picture of the
assets in which I have an interest”.

Although a refugee in London he had access to and advice from an experienced City
solicitor, Clyde and Co. It seems to me that there are substantial grounds for
concluding that he could reasonably have been expected, when informing the Bank’s
solicitors of his assets, to have informed them of at least two matters. First, he could
reasonably have been expected to have informed them of the role of his nominee. He
was Mr. Ablyazov’s only direct link to Eurasia Tower. This nominee held shares in
Handcart, via Company A, on trust for Mr. Ablyazov. His role as a trusted nominee
was Mr. Ablyazov’s most valuable asset. Second, he could reasonably have been
expected to have informed the Bank’s solicitors of the operating asset at the bottom of
the structure, namely, Eurasia Tower in Moscow.

Why did he not mention these two matters but instead mention only his interest in a
British Virgin Islands company, Blackdesert, in the middle of the chain and provide
documents evidencing the holding of shares in that company by Handcart and in
Handcart by Company A? Making every allowance for the position in which Mr.
Ablyazov found himself in August 2009 there are substantial grounds to believe that
the likely explanation is that he wished to give away as little information as possible
about his assets and so make it difficult for the Bank’s solicitors to enforce the
Freezing Order. Without knowing who held shares in Company A_ (a nominee) and
what his role was (nominee for Mr. Ablyazov), it would be difficult for the Bank’s
solicitors to identify how Mr. Ablyazov controlled Blackdesert. Without knowing
what Blackdesert owned or controlled it would be difficult for the Bank’s solicitors to
identify the operating asset at the bottom of the chain. The position in relation to the
other assets “disclosed” by Mr. Ablyazov in August/September 2009 is similar though

in relation to one he did reveal the operating asset.

I have noted that Mr. Ablyazov has apologised to the court for the inadequacy of the
information as to his assets provided in August/September 2009, that he has said that
he had no intention of doing anything other than abiding by the orders of the court and
that he has further said that he is extremely concerned that his disclosure has been
criticised by the court. He does not feel that he was well served by Clyde and Co.
However, even if Mr. Ablyazov did not know “the details of the holding structure”
and even if “given the relatively complex nature of these holdings, [he did] not hold
all the information in [his] head” that does not, it seems to me, provide an explanation
for his failure to identify, in relation to Eurasia Tower, first, the role of the nominee
and second, Eurasia Tower itself. They are the “big picture”.

I note that reliance has been placed by Mr. Bercow, of Stephenson Harwood, the
solicitors now acting for Mr. Ablyazov, on what was said by Mr. Smith on 4
November 2009 in response to a question from me. It is said that he conceded that it
was not necessary for Mr. Ablyazov to disclose the operating asset. However, in the
light of what has now been disclosed by Mr. Ablyazov as to his assets I consider that
the underlying asset should have been disclosed in circumstances where the holding
company is simply the vehicle for holding that asset. The position is to be contrasted
with a case where a defendant owns shares in a company which he does not control
and which owns many assets.
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 20 of 109

85. I have noted that Mr. Ablyazov is very concerned that he is being “painted” by the
Bank as a dishonest person and that no such conclusion should be reached by the
court until he has given evidence at this trial. The present applications are made at the
interlocutory stage of the proceedings. No findings can be made with regard to the
issues to be resolved at trial. On this application for a Receivership Order the court
has to consider whether there is a real risk that the Bank may not obtain from the
Freezing Order the protection against artificial dissipation of assets to which it is
entitled. In that context it is relevant to consider, on the written evidence presently
before it, whether there is a serious possibility that Mr. Ablyazov might have omitted
to tell the Bank of the role of his nominee and the operating assets in order to make it
difficult for the Bank to enforce the Freezing Order. If there is such a serious
possibility that is a reason in favour of making a Receivership Order. On the written
material presently before the court that is a serious possibility. There are, as I have
said, substantial grounds to believe that Mr. Ablyazov wished to make enforcement of
the Freezing Order difficult. However, at trial when the question of Mr. Ablyazov’s
honesty with regard to the Drey, Chysopa and Tekhinvest transactions (and it seems
other transactions) will be in issue there will, I have no doubt, be far more evidence,
including, in particular, oral evidence from Mr. Ablyazov which the court will have to
consider and weigh before reaching any conclusion as to honesty.

(b) The Schedule C disclosure

86. The original defects in the disclosure of Mr. Ablyazov’s assets have now been
remedied by Mr. Ablyazov in his Third Witness Statement. That is the basis of Mr.
Trace’s submission that Mr. Ablyazov has “bared his soul”. Mr. Smith does not
accept that he has bared his soul and submits that Mr. Ablyazov has omitted to
disclose his interest in a number of other companies which are mentioned in what is
known in this case as the Schedule C disclosure.

87. As part of the Freezing Order Mr. Ablyazov was required to answer questions
concerning what had happened to $295m. paid by the Bank to Drey. This information
was required to enable the Bank to trace and recover those monies. This is the Bank’s
“proprietary” claim. In response information was given and illustrated by a chart
showing what had happened to the monies. This is the Schedule C disclosure.

88. The chart indicated that very substantial sums were paid out to various companies and
on to others within a very short period of time. But the chart also indicated that
$215m. had found its way back to Bank. Although not initially accepted by the Bank
enquiries have confirmed that that is true. $215m. appears to have been paid back to
the Bank in discharge of loans made by the Bank to the companies who paid back the
$215m. However US$41.1m paid to FM Company is still “missing”. (A further
US$30m. paid to Estar Developments Limited was also said to be missing but the
Bank has recently stated that it found its way back to the Bank for a short period of
time).

89. Mr. Smith submits that Mr. Ablyazov must have an interest in the companies
receiving and making these payments, which interest has not been disclosed. His

reasons for making that submission are these:

i) Mr. Ablyazov could not otherwise have known or ascertained this information.
90.

91.

92.

93.

94.

95.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 21 of 109

ii) The speed and sequence of the payments would be incredible if the recipients
were independent third parties.

iii) Mr. Ablyazov has not disclosed any consideration or assets received in return
for the payments made.

When cross-examined Mr. Ablyazov denied any interest in the many companies
mentioned in the chart other than Drey, Devesta, Company Z, AMK Invest and
Company Y. He said that the chart had been provided by Mr. Y but he was no longer
in touch with him. He did not know why $41m. had been paid by Drey to FM
Company or why $30m. had been paid to Estar Developments Limited.

In his Third Witness Statement he confirmed that his source of information was Mr. Y
and that “since around September 2009” he has been unable to reach him. Mr. Y is
said to be extremely concerned for his own safety. ,

There appears to be some force in the points made by Mr. Smith. In the absence of
any other explanation it seems likely that the reason why substantial payments were
made quickly though a number of companies without, it appears, any assets or
consideration being received in exchange is that the monies were being routed
through companies in which Mr. Ablyazov was interested. Even allowing for Mr.
Ablyazov being a very rich man and for his reliance on Mr. Y with whom he is no
longer in contact it is surprising that he cannot say why $41m. and $30m. of his own
money were paid to FM Company and Estar Developments. By contrast he was able
to say why $5.75m. had been paid to Julia Seliverstrova, namely, the payment of a
debt.

This point was taken further when the Swift reports of the payments totalling $215m.
which were ultimately paid to the Bank were analysed. That analysis revealed a
number of connections between them and Mr. Ablyazov, including the following:

i) Payments were made by allegedly independent companies from accounts with
Trasta Komercbanka in Latvia or BTA Moscow ie the same banks which
received the funds under the compensation agreements on behalf of Drey.

ii) There were many links of incorporation and addresses between those
companies.

iii) There were numerous connections of addresses between those companies and
offshore companies of Mr. Ablyazov.

I gave Mr. Ablyazov leave to put in a further statement dealing with this matter if he
wished. I asked Mr. Trace for his response to Mr. Smith’s submission that Mr.
Ablyazov must have an interest in the companies making and receiving the payments
in the schedule. His answer did not address Mr. Smith’s submission. Rather he said
that he had not understood the point being made and that Mr. Ablyazov would deal
with the matter in further evidence.

Thus Mr. Ablyazov provided his Seventh Witness Statement. He explained the
various connections identified by study of the Swift reports as follows. Trasta
Komercbanka is a leading bank in Latvia and is often used by businessmen both
96.

97.

98.

99.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 22 of 109

within and outside the CIS so there is nothing significant in that bank being used for
making payments. BTA Moscow was used as a correspondent bank by Trasta
Komercbanka. Offshore companies are used by many businesses and the same agents
are often used. There is therefore nothing surprising in the companies listed in the
schedule as having common addresses amongst themselves or with Mr. Ablyazov’s
companies. This explanation has been summarised by Mr. Trace in his further written
submissions dated 18 June 2010 at paragraph 9.

The explanation has been considered and rejected by those advising the Bank. Mr.
Hardman has given further evidence about this matter in his Sixteenth Witness
Statement dated 29 June 2010 and Mr. Smith has made detailed submissions on the
topic at pp.4-8 of his further written submissions also dated 29 June 2010. There is a
considerable dispute as to the inferences which may or may not properly be drawn
from powers of attorney having been granted to persons in the Schedule C companies
who also hold powers of attorney over companies controlled by Mr. Ablyazov.

The Seventh Witness Statement of Mr. Ablyazov went further as Mr. Trace suggested
it might. Mr. Ablyazov elaborated on the role of Mr Y and. on his role in preparing the
Schedule C answers. He said that Mr. Y arranged for short term loans from third
parties and for the repayment of such loans. Mr. Y also made payments when assets
were purchased by Mr. Ablyazov. He estimated that in any one year Mr. Y would
handle payments between $500m. and $1b. Bearing those matters in mind he
suggested that the various payments in the schedule prepared by Mr. Y are likely to
represent the repayment of loans or payment for the purchase of assets (as was the
case with Mrs. Seliverstrova). He suggested that the payment of $41.1m. to FM
Company might have been in part a repayment of a loan and in part a repayment to
Mrs. Seliverstrova by way of the purchase for her of a company from FM Company.
He stated that it is not surprising that he is not able to look at the figure of $41.1m and
be reminded of what the sum relates to. He maintains that he does not own directly or
indirectly any of the companies in the schedule save for those in which he has already
declared an interest.

Mr. Ablyazov’s Seventh Witness Statement seeks to answer the main thrust of Mr.
Smith’s submission though his evidence seems to be no more than informed
speculation and the reasons for the payments of over $70m. to FM Company and
Estar must remain in doubt. Mr. Smith has submitted that the speculation is
implausible for reasons developed at paragraphs 4-13 of his written submissions dated
29 June 2010. Mr. Hardman goes further and appears to doubt even the existence of
Mr. Y; see paragraphs 22-23 of his Sixteenth Witness Statement.

Whilst Mr. Smith has identified reasons for doubting Mr. Ablyazov’s explanation it
would be a remarkable and brazen lie for Mr. Ablyazov to deny his interest in
companies whose names were disclosed by Mr. Ablyazov himself in Schedule C. It
would also be a remarkably stupid lie in circumstances where his honesty will be in
issue at trial. In the result I am not persuaded on this application that Schedule C in
fact lists other companies in which Mr. Ablyazov has an interest which he has not
disclosed and refuses to disclose. Equally, I am not persuaded that Mr. Ablyazov has
indeed “bared his soul” as to his assets. The most that I can say is there is a reasoned
suspicion that he has not disclosed all his assets.
100.

101.

102.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 23 of 109

But his explanation also reveals a remarkable state of affairs, namely, that Mr. Y, with
whom Mr. Ablyazov is no longer in contact, has very considerable power over Mr.
Ablyazov’s funds. This emphasises the need for a receiver to be appointed in relation
to the Bank’s proprietary claim in respect of (at least) the missing $40m. paid to FM
Company. (The $30m. payment to Estar has now been found to have made its way
back to the Bank where it remained for a short period before being paid out to ABN
Amro on a trade finance transaction.) Mr. Ablyazov has now denied owning Devesta,
a company recorded by him as having made substantial transfers of the sums first paid
to Drey. This apparent change of evidence (which he attributes to a mistranslation or a
failure on his part to express himself) also emphasises the need for a receiver to be
appointed.

There is one other dispute I should mention in the context of whether Mr. Ablyazov
has declared all his assets. I mention it in order to illustrate not only the Bank’s efforts
to uncover undisclosed assets of Mr. Ablyazov but also the difficulty of reaching any
conclusion on the basis of the evidence adduced. Mr. Smith and Mr. Hardman say that
Mr. Ablyazov has an interest in Glintmill Investments which he has not disclosed and
which he has either sold or is on the market. Glintmill is said to hold (or to have held)
a 70% interest in Gainsford Investments which in turn holds an indirect interest in the
construction of the Holiday Inn hotel and EXPO centre in Belgrade. Mr. Ablyazov
denies ever having had an interest in Glintmill.

The Bank’s evidence that Mr. Ablyazov has such an interest comes from discussions
between two Serbian investors (who claimed to be the owners of the other 30%
interest in Gainsford) and a representative of the Bank in Moscow in April 2009. Also
in attendance at the meeting, apparently, was an officer of the KNB, the Kazakhstan
security service. The Bank’s case is supported by contact between the Serbian
investors and Mr. Hardman in January 2010 and an arrangement to meet them after
they had had a meeting with Clyde and Co. But such a meeting has been denied by
Clyde and Co. and the meeting with Mr. Hardman was cancelled. Reliance is also
placed by Mr. Smith on what has been said in certain Cypriot proceedings in relation
to what might be the Glintmill investment by a lady who appears to have been
imprisoned for 10 days, placed under house arrest, was in a depressed state and feared
punishment by law enforcement authorities. After she had cooperated with the
authorities the charges against her were dismissed. I am quite unable to resolve the
dispute as to whether Mr. Ablyazov has an interest in Glintmill on this application.

(c) Failure to mention dealings in assets

103.

104.

Mr. Smith submitted that the answers given by Mr. Ablyazov during his cross-
examination were misleading. He submitted that Mr. Ablyazov failed to mention (i)
the sale agreement in respect of his interest in the Eurasia Tower and (ii) the sale of
his interest in BTA Kazan. Criticism has also been made of his failure to mention
certain negotiations for the sale of assets. The Vitino Sea Port was mentioned in this
context. I do not consider that much if anything can be made of a failure to mention
negotiations.

Gi) Eurasia Tower

In his Third Witness Statement served on 16 April 2010 Mr. Ablyazov revealed that
an agreement for the sale of his interest in Eurasia Tower had been made on 15
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 24 of 109

September 2009 for $50m. The purchaser was Mr. Fuchs. It was varied on 26
November 2009 and on 1 December 2009 the first tranche of $20m. was paid and title
passed to the purchaser. The balance remains to be paid.

105. Although the sale agreement was made on 15 September 2009 before Mr. Ablyazov’s
list of assets was disclosed on 30 September 2009, that list had been prepared and
provided to Clydes at the end of August 2009 in accordance with my order. Mr.
Ablyazov was cross-examined as to his list of assets on 27 October and 18 November
2009.

106. On 27 October he said that Blackdesert owned a construction project which was
presently frozen and that his share was valued at $50m. He did not mention that that
was indeed the sale price which he had recently agreed for the sale of his share.

107. On18 November he said “I own 50% of Blackdesert.” He did not mention that he had
agreed to sell it.

108. On 15 December 2009 Clyde and Co., who were then acting for Mr. Ablyazov,
provided further information as to Mr. Ablyazov’s assets. With regard to Blackdesert
certain documents (trust deeds and share certificates) were referred to and it was
stated that “Handcart Investments owns 50% of the shares in Blackdesert Holdings
Limited.” But as of the date of this letter this information was not correct. The title to
the shares in Blackdesert had passed to Mr. Fuchs on 1 December.

109. The question which arises is whether Mr. Ablyazov’s failure to mention the sale until
April 2010 is sinister in the sense that he deliberately avoided mention of it so that the
Bank’s solicitors would not learn of the sale and the sale proceeds.

110. Mr. Ablyazov’s explanation in his Third Witness Statement is that he did not expect
Mr. Fuchs to pay the agreed price. Mr. Fuchs said he would pay by the end of
September and then by 15 October and then again by 1 November.

“At the time of my second cross-examination in November, I
thought that the possibility of this asset being transferred to Mr.
Fuchs was small if not non-existent, and accordingly the
prospect of such a transfer is not something that it would have
occurred to me to mention.”

111. In his Fourth Witness Statement he said that he understood the purpose of the cross
examination was to ask him about the statements he had made in his affidavit of
assets. As to Clydes’ letter dated 15 December he said he could not remember
whether or not he saw and approved the letter but even if he had he said that he would
have assumed that it related to his assets as at the date of the original Freezing Order.

112. Mr. Ablyazov’s obligations under the Freezing Order were, by 27 August 2009, to
inform the Bank’s solicitors, to the best of his ability and after making all reasonable
enquiries, of “the location, nature and value of all his assets...... giving the value,
location and details of all such assets.” Since the sale agreement of his share in
Blackdesert was not made until 15 September he was not required to mention that
agreement when providing his affidavit to Clyde and Co. on 27 August (as he was
required to do pending his appeal to the Court of Appeal). Ultimately, Mr. Smith did
113.

114.

115.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 25 of 109

not submit that there was an implied obligation under the Freezing Order to update
information as to assets. It seems to me that since breaches of the Freezing Order are
punishable as a contempt a party’s obligations pursuant to an order should be set out
expressly. I agree with the suggestion in Gee on Commercial Injunctions at paragraph
22.017 that the information should be up to date at the time of service of the affidavit.
However, since the affidavit was provided to Clyde and Co. on 27 August but not
served on Lovells until 30 September after the dismissal of the appeal it would have
been an awkward submission to make that there had been a breach of duty in this
respect.

I think that caution should be exercised in criticising Mr. Ablyazov’s answers in
cross-examination which were given through an interpreter. Moreover, as at the date
of both sessions of cross-examination he still owned, indirectly, 50% of Blackdesert
and, because the sale agreement was not known to Mr. Smith, he was not asked about
any sale. Nevertheless, I find it surprising that he did not mention the sale agreement.
He mentioned a valuation of $50m. but did not mention that that was the price at
which he had agreed to sell his interest. On the evidence presently available it appears
that he did not tell Clyde and Co. about the sale. If he had told Clyde and Co. they
would surely have made reference to it in their letter dated 15 December to ensure
that their letter was not misleading. As a result the Bank, or more correctly, the
Bank’s advisers believed until April 2010 that Mr. Ablyazov owned 50% of
Blackdesert and therefore of Eurasia Tower. In fact, after the second cross-
examination and before Clydes’ letter of 15 December, title had passed and Mr.
Ablyazov had received US$20m. which was used on 3-4 December to discharge
obligations to another company (which obligations were entered into on 10 October
2008, a guarantee by Handcart of payment obligations owed by Company E).

Mr. Ablyazov has not denied that he failed to inform Clyde and Co. of the sale. The
significant question for present purposes is whether there are substantial grounds to
believe that Mr. Ablyazov chose not to inform Clyde and Co. and the Bank (or rather
its solicitors) as to the sale of his interest in Blackdesert because he did not wish the
Bank’s solicitors to know about the sale and that he had received $20m. I consider
that there are substantial grounds to believe, on the material currently before the court,
that this was his purpose. It fits with his earlier inadequate disclosure which made the
task of the Bank’s advisers to enforce the Freezing Order very difficult. His
suggestion that he thought that the (exclusive) focus of attention was his assets as at
the date of the Freezing Order seems to me most improbable. There is evidence from
Mr. Neocleous that Mr. Ablyazov considered that dealings in his assets were
injuncted after the Freezing Order was amended on 11 December 2009 and that he did
not, at that time, appreciate the significance of the Angel Bell liberty. This may
explain why Clyde and Co. were not informed.

(ii) BTA Kazan

According to Mr. Ablyazov his interest in this bank was sold “in October 2009”. Yet
when cross-examined on 18 November 2009 he referred to the interest in BTA Kazan
without mentioning that it had been sold the previous month. He said that Company F
“owns” 34% of BTA Kazan. Nor was any mention of the sale made in Clyde and
Co.’s letter dated 15 December 2009 which asserted that Company F owns Company
G which in turn owns 50% of TuranAlemCapital which in turn “holds” 14.8% of
BTA Kazan. Further shares in BTA Kazan were held in similar fashion through other
116.

117.

118.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 26 of 109

companies. The proceeds of sale were used to purchase subordinated debt in BTA
Moscow.

Mr. Ablyazov has not denied that he failed to inform Clyde and Co. of the sale.
Again, as with Eurasia Tower, the question is whether there are substantial grounds to
believe that Mr. Ablyazov chose not to inform Clyde and Co. and the Bank (or rather
its solicitors) as to his sale of his interest in Company F because he did not wish the
Bank’s solicitors to know of the sale and that he had received the proceeds of sale. As
with Eurasia Tower, there are substantial grounds to believe that this was his purpose.
It fits with his earlier inadequate disclosure which made the task of the Bank’s
advisers to enforce the Freezing Order very difficult.

Mr. Matthews submitted that there was evidence that this sale was not a secret. The
Claimant Bank had been wishing to merge it into BTA Moscow. This did not take
place and since February 2009 there has been deadlock because Mr. Ablyazov owed
51% of BTA Kazan and the Claimant Bank owned 47% of it. Eventually Mr.
Ablyazov sold his shares to companies controlled by Mr. Pukhlikov, who has interests
in oil and gas. Mr. Hardman has himself referred to a press release issued by BTA
Kazan referring to the sale. However, it is not clear to me from Mr. Ablyazov’s
evidence that the sale was known to the Claimant Bank before the issue of the press
release. That press release is dated 30 November 2009.

Whilst, in the light of the press release, any expectation Mr. Ablyazov had of keeping
the sale secret was unlikely to be realised, there remain grounds to believe that this
was his aim.

(d) Trust deeds

119,

120.

A curious, Mr. Smith would say extraordinary, aspect of this case is the production of
written trust deeds evidencing the relationship between Mr. Ablyazov and a nominee
between the initial disclosure of assets and the completion of cross-examination. Mr.
Ablyazov said, when cross-examined on the second occasion, that he dictated them in
Russian to a nominee who prepared them in English and sent them to him through the
post. It would appear that Clyde and Co. were not involved. Mr. Ablyazov states in
his Third Witness Statement that “the creation of these trust deeds was intended to
show transparency and as an act of good faith in this litigation. They formalised an
existing relationship.”

Mr. Ablyazov’s account of the manner in which the trust deeds were produced is
surprising. It is difficult to accept that he dictated the terms of these trust deeds in
Russian to his nominee. It is also difficult to accept that his nominee translated them
into English, for that nominee has now provided a witness statement in which he
states that he speaks Russian and that the statement was translated into Russian for
him. It now appears that at least one trust deed was in existence by 7 August 2009. If
the deeds dated in October 2009 were produced on Mr. Ablyazov’s instructions it
seems to me more likely that he requested that they be produced in the form of the
trust deed already in existence (but which was not disclosed with the initial list as it
ought to have been). However, this is speculation. The important question is whether
there was anything sinister in their production. Their production, after an affidavit of
assets and before cross-examination as to that affidavit, is certainly unusual. Further,
one would have expected someone in Mr. Ablyazov’s position to have consulted
121.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 27 of 109

Clyde and Co. about the need to produce them and whether it was wise to do so.
There is no evidence that he did. Mr. Trace submitted that their execution is not
consistent with a desire on the part of Mr. Ablyazov to evade the court’s judgment or
put obstacles in the way of enforcement. There seems to me some force in this. The
trust deeds provide a written record signed by the nominee of his trustee status.
Without them there would be no record (save in one, perhaps two, cases) that he held
shares on trust for Mr. Ablyazov. Thus the production of the trust deeds would seem
to assist rather than frustrate enforcement of any judgment. Mr. Smith did not, I think,
suggest in what way, if any, their production might frustrate enforcement. In those
circumstances I am not persuaded that the production of the trust deeds suggests that
Mr. Ablyazov is likely to disobey the Freezing Order.

Having reviewed the main criticisms on disclosure I have concluded that Mr.
Ablyazov’s initial disclosure and his failure to mention certain dealings with his assets
to Clyde and Co. and hence to the Bank’s advisers provide good reason to believe that
the Freezing Order will, or may, not provide the Bank with adequate protection
against the risk of dissipation of Mr. Ablyazov’s assets prior to trial.

The Restricted Information regime

122,

123.

124.

This regime was. ordered by the Court of Appeal after it had been suggested by the
Bank as a solution to Mr. Ablyazov’s concerns as to information about his assets
reaching the President of Kazakhstan via the Bank. I decided to continue it.

There have been two successful applications to relax it, one concerning the Schedule
C disclosure and the other concerning four assets already in the pubic domain. Once
the Schedule C disclosure was made known to the Bank it was learnt that the
companies who had repaid $215m. to the Bank still owe the Bank some $642m. Once
the Bank learnt of the four assets it was learnt that substantial sums had been
borrowed from the Bank to purchase three of those assets. This has given rise to the
suspicion that Mr. Ablyazov has an ulterior motive for insisting on the Restricted
Information regime. However, Mr. Ablyazov clearly has his own reasons for insisting
on the regime, namely his fears concerning the President of Kazakhstan, and I cannot,
on this application, find that those reasons are bogus.

It is likely that the regime impedes the ability of the Bank’s solicitors and other
advisers to police the Freezing Order, for they are unable to discuss the disclosure
with the Bank. But I do not consider that that is an adequate reason for making the
Receivership Order.

Drey’s claim that it was exposed to criminal proceedings

125.

Drey attempted to rely upon the privilege against self-incrimination when ordered to
give disclosure of its assets. It claimed that it might incriminate itself of an offence
contrary to section 328 of the Proceeds of Crime Act 2002 of becoming concerned in
an arrangement which facilitates the acquisition, retention, use or control of criminal
property by or on behalf of another person. It is said that other person must have been
Mr. Ablyazov since he owns and controls Drey which circumstance suggests a high
risk of dissipation of assets. I am not sure that the other person must have been Mr.
Ablyazov though if it were not him it must have been another company owned or
controlled by him. But a risk of dissipation is in any event suggested by the fraud
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 28 of 109

alleged against Mr. Ablyazov. I do not consider that the circumstance of Drey
claiming privilege against self-incrimination materially adds to that risk.

The reasons for a Receivership Order

126.

127.

128.

129,

In summary therefore the circumstances which give reason to believe that the
Freezing Order may not provide the Bank with adequate protection against the risk
that Mr. Ablyazov’s assets will be dissipated prior to any judgment that the Bank
obtains are as follows:

i) His initial disclosure of his assets can now be seen to have been seriously
inadequate in that he failed to mention the crucial role of a nominee and the
nature of the operating assets (save for one). There are grounds for believing
that he wished to make it difficult for the Bank to enforce the Freezing Order.

ii) There are grounds to believe that his failure to mention the sale of Eurasia
Tower to Clyde and Co. was to avoid the Bank’s solicitors learning of the sale
and that $20m. had been received in part payment.

ili) There are grounds to believe that his failure to mention the sale of BTA Kazan
to Clyde and Co. was to avoid the Bank’s solicitors learning of the sale and
that the proceeds of sale had been received, though this was unlikely to
succeed in the light of a press release by BTA Kazan.

Those matters give rise to a real risk, in my judgment, that Mr. Ablyazov may use the
structure by which he holds his assets to deal with them in breach of the Freezing
Order. He has said that he will not do so and no breach has yet been proved but in the
light of his prior conduct I am unable, on this application, to be sure that he will not
do so in the future. There is therefore good reason for making the Receivership Order.
It follows that I am unable to accept Mr. Trace’s submission that whatever the
position may have been in November 2009 there is no longer a risk of dissipation of
assets.

The unexplained whereabouts of at least $40m. paid out to Drey provide good reason
for making the Receivership Order in support of the Bank’s proprietary claim.

However, all the circumstances of the case must be considered before a final decision
can be reached as to whether it is just and convenient to make the Receivership Order.

The proposed receivers and method of operation

130.

131.

The proposed receivers are Mr. Outen and Mr. Milsom who are partners in KPMG
and Mr. Standish who is an associate partner in KPMG.

No criticism has been made of their experience but they have been criticised for an
absence of pre-planning. However, they were only given access to the Restricted
Information on 21 April 2010. It may be that instead of agreeing to carry out the
receivership the more prudent response would have been to decline to say whether or
not they could carry out the receivership until they had been given access to more
information. However, their expression of willingness to carry out the receivership
132.

133.

134.

135.

136.

137.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 29 of 109

before having access to that information probably reflects their wish to do the work
rather than an absence of the necessary professional skill and care.

The proposed strategy is to seek to obtain control of Mr. Ablyazov’s assets by
obtaining control of the shares in the companies at the top of each chain which leads
down to an operating business. The receivers do not envisage carrying on that
business save with the consent of the court. The strategy has been described by them
in these terms:

“...[B]y securing the corporate structure we should be able to
preserve the assets to a greater degree than currently exists and
without directly intervening in the day to day management of
the businesses in which [Mr. Ablyazov] has an interest.”

In addition they wish to “follow and secure the sums transferred by the Bank to
[Drey]”. Although they “do not anticipate becoming involved in the day to day
management of the underlying operating businesses” they do intend to

“monitor the performance of the businesses on a regular basis
in order to ensure that the value of [Mr. Ablyazov’s] interest is
not being improperly diminished or dissipated”.

They envisage the co-operation of Mr. Ablyazov in this respect so as to “mitigate or
eliminate the risk of knowledge of our appointment being widely disseminated or
misunderstood.” In the absence of such co-operation they may meet “an operational
challenge”.

The draft receivership order contains wide terms designed to enable the above
objectives to be achieved. In particular Mr. Ablyazov is to be obliged to “deliver or
cause to be delivered to the Receivers such of the Property as is in his possession,
under his control or in respect of which he has the power to dispose or deal” (see
para.9(a)). In addition he is to “deliver or cause to be delivered to the Receivers all
share certificates ....... ” (see para.9(b)). Further, nominees are to be instructed to
execute share transfer forms in the names of the receivers (see para.9 (d).

The strategy of the proposed receivers appears to me to be an attempt to do that which
is necessary to secure the operating assets and no more. That is a reasonable and
proportionate approach. It is plain that the strategy depends on Mr. Ablyazov’s
obligation to co-operate with the receivers. Nevertheless, the draft order imposes on
Mr. Ablyazov wide obligations which may not be capable of fulfilment having regard
to his evidence in this case. For instance unless he remains in touch with all his
nominees he may not be able to comply with the order. The draft order requires him
to give instructions to Mr. Y. On Mr. Ablyazov’s evidence it is unclear how he is to.do
that. There seems to me a case for the order being in terms of best endeavours rather
than the absolute obligation which might be appropriate in other contexts.

Mr. Trace submitted that if the envisaged strategy were the limit of what is intended a
receivership order would not be required. Instead, an order for further information and
disclosure from Mr. Ablyazov and confirmations from third parties would be
required. Consistent with that submission Mr. Ablyazov has offered the court an
undertaking in the following terms:
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 30 of 109

“to use his best endeavours as soon as reasonably practicable to
(i) procure letters to be written by the Companies in Schedule 1
and the individual nominees in Schedule 2 in the forms
annexed hereto...... and (ii) provide to the Court and Hogan
Lovells LLP the most recent financial statements of the
companies listed at Schedule 5.”

138. The form of proposed letters from the companies provide for confirmation that the
writer is aware of the Freezing Order, confirmation as to the ownership of shares, a
list of the assets of the company and confirmation that no transfer of shares will be
registered and that the assets will not be disposed of. The form of proposed letter from
the nominees identifies assets held by the nominee and confirms that he is aware of
the Freezing Order and that the assets will not be disposed of.

139. Whilst this undertaking would enable the first part of the strategy to be fulfilled it
does not envisage delivery up to the receivers of the documentation held by the third
parties which records or proves their title to the shares in the relevant companies.
Delivery up of such documentation of title appears to me to be an essential step in the
receivers assuring themselves that they have control of the relevant companies. I
therefore accept Mr. Smith’s submission that the undertaking does not go far enough.

140. Mr. Trace has submitted (in paragraph 14(1) of his written submissions dated 18 June
2010) that some title documentation has been disclosed. However, delivery up of
documents of title is different from disclosure. As to delivery up it has been suggested
that it “engages potential tax and regulatory questions” (see paragraph 18 of those
submissions). They have not been identified and it has not been explained why the
receivers cannot hold the relevant share certificates in order to ensure control of the
corporate structure.

141. Mr. Trace also submits, with the support of Mr. Christopher Morris, someone with
great experience as a receiver, that the proposed receivership will be expensive and
time consuming and that knowledge of the receivers’ appointment will spread down
the chain with the consequent risk of damage to Mr. Ablyazov’s assets. It is said that
the proposed receivership is likely to lead, ultimately, to the receivers assuming
control of the operating businesses and thereby causing considerable damage to them
and to Mr. Ablyazov. Mr. Trace submits that the costs of the receivership, bearing in
mind that “this litigation and connected proceedings are likely to continue for years”
are likely to be “huge”.

142. The costs of the receivership and the risk of damage to the operating businesses and
hence to Mr. Ablyazov are highly material factors to bear in mind when deciding
whether it is just and convenient to make the Receivership Order. There clearly is a
risk that the costs of the receivership will be very substantial indeed. The three
receivers are likely to have a team assisting them. Proposed hourly rates run from
£220-£695 per hour in London and from £190 to £590 per hour in Moscow. They
have engaged Freshfields to advise them on legal matters. There must also be a risk
that the Receivership Order will be perceived as a form of insolvency procedure
which is likely to be damaging to the operating businesses and to Mr. Ablyazov. In
weighing these risks I have taken into account the following considerations on the
other side of the balance:
143.

144,

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 31 of 109

i) It is not in the interests of the receivers to damage either the operating
businesses or Mr. Ablyazov. Their role and duty is to preserve his assets, not
to damage them. I would therefore expect that they would strive to limit the
damage which might be caused by assuming control of the operating assets
through control of the companies at the top of the respective chains.

ii) Mr. Ablyazov will be obliged to co-operate with the receivers. The greater the
degree of co-operation the less the risk of damage to the operating businesses
and to himself.

iii) Particular powers or provisions requested in the draft order may be excluded
with liberty to apply to include them at a later stage. Thus the draft provides
that a further order of the court is required before the receivers may manage a
company’s business.

iv) The Bank must give an undertaking in damages. At present fortification of that
undertaking by way of a £5m. bond is offered. If greater fortification is
required Mr. Smith has invited the court to bear in mind that companies
controlled by Mr. Ablyazov still owe very considerable sums to the Bank.
Thus in respect of Project D, the Oceanarium, Business Centre 1812,
Paveletskaya and Project E, large sums are owed to the Bank. He has
suggested that Mr. Ablyazov in effect already has security in those amounts. A
charge can be created by the Bank to ensure that he has the benefit of that
security.

Mr. Trace has submitted that, if the Receivership Order is made, fortification in the
sum of about £900m. should be required. This has been assessed by assessing Mr.
Ablyazov’s assets at about $5b. and assessing the loss likely to be caused by the
Receivership Order at about 50% of that, namely, $2.5b. 50% of that sum is then
“taken to represent the possible loss of value in relation to the assets as a whole”,
reducing the sum to $1.25b. (I am not sure I understand that step in the analysis. It
may be that it is intended to represent a loss in value which might occur in any event.)
In sterling terms that amounts to £870m. to which must be added a sum for the costs
of the receivership over two years, giving a total of £900m.

It is obvious that Mr. Trace has used an exceptionally broad brush. But it is difficult to
estimate the losses which might be suffered by reason of the Receivership Order
(which is itself a reason for exercising great caution before making the Order) and Mr.
Smith has not identified the route by which £5m. is thought to be an appropriate sum
for the purposes of fortification. Given the size and possible value of Mr. Ablyazov’s
assets fortification in the sum of £5m. may well be inadequate. Equally, £900m. does
not seem to me to reflect either the receivers’ duty to preserve rather than damage the
assets or the ability of Mr. Ablyazov to minimise any damage by co-operating with
the receivers. The court must, if it can, make a realistic or intelligent estimate of the
harm which may be caused to Mr. Ablyazov. If the court cannot predict with certainty
what loss will be caused the court must at least ensure that the cross-undertaking has
real value. The court should take the course which is least likely to lead to an
injustice; see Bloomsbury International Limited and others v Holyoake and others
[2010] EWHC 1150 (Ch) at paragraphs 13,16, 17 and 30.
145.

146.

147.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 32 of 109

Mr. Trace has further questioned the enforceability of the charge offered by Mr.
Smith as security. He has suggested that it might not be enforceable having regard to
the fact that the Bank “is subject to an insolvency procedure in Kazakhstan”. Such a
charge may offend the pari passu principle. The Bank has now adduced evidence
from White and Case Kazakhstan LLP to the effect that any claim to enforce such a
charge would not be subject to the “restructuring” process underway in Kazakhstan
and that “under the current situation of the Bank and the proposed restructuring
arrangements there are and should be no impediments to the Bank granting security in
this way”. In response Mr. Ablyazov has adduced evidence from Professor Maggs to
the effect that Article 158 of the Civil Procedure Code may render the proposed
charge unenforceable. Further, if the Bank were placed into bankruptcy the
administrator would have broad powers to rescind the proposed charge.

Having considered the receivers’ strategy and the submissions of Mr. Trace I do not
consider that the strategy is such that a Receivership Order should be ruled out.
However, it will be necessary to examine carefully the terms of the proposed order
and the extent to which the Bank’s undertaking should be fortified.

Mr. Ablyazov has informed the Court and the Bank in his Sixth Witness Statement
that he has appointed a nominee as sole director of certain companies in the various
chains of companies. Mr. Smith has described this as “a blatant attempt to undermine
the application by ensuring that a person whom Mr. Ablyazov trusts will stand
between the receivers and the valuable assets at the bottom of the chains.” By contrast
Mr. Trace submits that this appointment ought to be “a source of reassurance, rather
than concern” for the Bank. It is impossible for me to say which submission is correct.
All that I can say is that whilst the appointment is a striking illustration of the manner
in which Mr. Ablyazov can control the companies in the various chains of companies
it also illustrates that cooperation by Mr. Ablyazov, in the form of appropriate
instructions to his nominee, will reduce the risk that the receivership order will cause
damage to Mr. Ablyazov and his assets.

Other reasons for not making the Receivership Order

(a) The political backdrop

148.

149.

Mr. Trace submitted, on the basis of extensive evidence from Mr. Ablyazov and
others independent of him, that the President of Kazakhstan wishes to eliminate Mr.
Ablyazov as a political force and so stifle democratic opposition. Mr. Trace has
further submitted that the Bank is under the control of the President and that the
actions before this court are motivated by an illegitimate intention to cause damage to
Mr. Ablyazov’s reputation and interests and so weaken him as a political opponent. It
is necessary to note that Mr. Ablyazov has issued an application to stay the
proceedings against him on the grounds that they are an abuse of the process of this
court. The application was issued on 23 April 2010, that is after the receivership
application was issued but before it was heard. Mr. Trace has submitted that if there is
any risk of what he says is the illegitimate intention of the President and the Bank to
damage Mr. Ablyazov being advanced by the Receivership Order then the Court
should refuse to make it.

The Bank denies that its claims are motivated by an illegitimate intention to damage
Mrz. Ablyazov and weaken him as a political opponent of the President of Kazakhstan.
150.

151.

152.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 33 of 109

The Bank has adduced evidence that it is in very serious financial difficulties and that
it is seeking, with the consent of its major Western creditors, to recover monies
wrongfully misappropriated from it by Mr. Ablyazov for, in part, the benefit of those
creditors. Mr. Smith submitted that the existence of a political dispute between the
President of Kazakhstan and Mr. Ablyazov is not a good reason for allowing Mr.
Ablyazov to keep monies which have been wrongfully misappropriated by him from
the Bank.

It is not possible for the court to make findings on this hearing as to the motivation
behind the Bank’s actions in this court against Mr. Ablyazov. There is a stark conflict
of evidence. On the one hand the Bank has adduced evidence that it is seeking to
recover those sums for the benefit of its creditors and it has not been disputed that the
Bank has a good arguable case that Mr. Ablyazov has defrauded it of very
considerable sums of money. On the other hand Mr. Ablyazov has adduced evidence
that he has been the target of unlawful action by the President of Kazakhstan and that
the board of directors of Samruk-Kazyna which now owns 75% of the Bank is headed
by persons appointed by the President. He denies the claims which have been brought
against him and says that they are politically motivated.

The submissions of Mr. Trace and Mr. Smith as to how the court should deal with the
political backdrop to this receivership application were simple and straightforward.
Mr. Trace said that the court should guard against the risk that its processes are being
used for improper collateral purposes by refusing the application. Mr. Smith said that
the political backdrop was irrelevant.

By contrast with the simplicity of counsel’s submissions I have found this aspect of
the case difficult, perhaps because the submissions of counsel were so simple, and
worrying, because of the seriousness of the allegations on both sides. Having
considered the matter I do not feel able to accept the submissions of either counsel as
to how to deal with the political backdrop to this application. My approach to this
aspect of the case is as follows.

i) Freezing orders are granted where the claimant has a good arguable case. They
are not denied because the defendant has an arguable defence. Since the
Receivership Order is sought in support of the Freezing Order which has been
granted in this case it also should not be denied merely because Mr. Ablyazov
has an arguable defence.

il) The court cannot, in determining the receivership application, determine the
question whether the proceedings before this court are an abuse of its process.
That will have to be determined when the court hears the stay application.
Indeed, it is accepted by Mr. Trace that the court cannot on this application
make findings in relation to the stay application.

iii) If the court were to refuse to make the Receivership Order on the grounds that
there is a risk that such an order might advance the illegitimate ends of the
President of Kazakhstan, as submitted by Mr. Trace, the court would, in effect,
be saying that the outcome of the receivership application should await the
determination of the stay application. Mr. Trace did not suggest that in terms.
If he had done so I have no doubt that the suggestion would have been resisted
by Mr. Smith on the grounds that directions for hearing the receivership
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 34 of 109

application were given in order to ensure that the application was heard as
promptly as was consistent with justice, without any suggestion being made
that the hearing of the application should be adjourned pending the
determination of the stay application. The court should therefore seek to
determine the receivership application on its merits.

iv) However, the fact that a stay application has been issued and will therefore
have to be determined is not something which I can regard as irrelevant. For if
the stay application were hereafter to succeed it would follow that the
Receivership Order, if granted, would have to be rescinded. This is therefore a
further reason why the undertaking in damages must be of real value.

(b) Human Rights

153.

154.

155.

156.

Mr. Trace also submitted that the grant of the Receivership Order would give rise to
serious interference with Mr. Ablyazov’s rights under the European Convention on
Human Rights.

He first referred to Mr. Ablyazov’s right under Article 1 of the First Protocol to the
peaceful enjoyment of his possessions and his right not to be deprived of his
possessions except in the public interest. Mr. Trace submitted that the Receivership
Order must therefore be justified and proportional. He said that if the Freezing Order
strikes a fair balance between the rights of Mr. Ablyazov and the rights of the Bank
not to be deprived of the opportunity to enforce a judgment in this action by reason of
illegitimate dissipation of assets, then the further restriction on Mr. Ablyazov’s rights
as owner imposed by the Receivership Application would neither be justified nor
proportional. Mr. Trace accepted, however, that this was not a different test from that
which the court would in any event apply when deciding whether the Receivership
Order was just and convenient. It reinforced that test.

Mr. Trace next referred to Mr. Ablyazov’s rights under Article 8 of the Convention to
respect for his private and family life. He submitted that the requirement in paragraph
12 of the proposed Receivership Order to attend upon the receivers at all times and do
all such things “as the receivers may reasonably require for the purpose of getting in
the Property and carrying out their functions” was extraordinarily wide and
constituted a very substantial interference with his private life. It therefore required
clear and compelling justification and must be proportionate. It was submitted that the
Bank’s interests are adequately protected by the Freezing Order and therefore that the
interference with his private and family life inherent in paragraph 12 could not be
justified. Mr. Trace again accepted that his reliance on Article 8 reinforced the court’s
general approach to the making of a receivership order in the circumstances of this
case. (I would add that if the making of a Receivership Order is just and convenient,
and therefore justified and proportionate, because adequate protection is not provided
by the Freezing Order, a requirement that Mr. Ablyazov do such things as the
receivers may reasonably require is unlikely to be disproportionately wide.)

Finally, Mr. Trace relied upon Mr. Ablyazov’s right to a fair trial under Article 6 of
the Convention. He submitted that the grant of Receivership Order would involve the
effective “determination” of Mr. Ablyazov’s “civil rights and obligations” where

- there was a risk of irreversible damage to his business. In those circumstances it was

submitted that he was entitled to have an opportunity fully to test the evidence being
157.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 35 of 109

adduced against him in support of the application. This required the cross-
examination of the Bank’s witnesses. The court should therefore require the Bank, if
it is contemplating making the Receivership Order, to tender its witnesses for cross-
examination. Upon the assumption that Mr. Ablyazov’s Article 6 rights are engaged
by the receivership application I am not persuaded that those rights required, in the
context of this interim application, the opportunity to cross-examine the Bank’s
witnesses. No authority was cited in support of that submission. I consider that the
form of hearing adopted for determining the receivership application, namely, one
which provided for written (and voluminous) factual and expert evidence and for oral
submissions (over 4 and a half days) on that material, enabled there to be a fair trial of
the receivership application.

Thus, although it is necessary that the Court be informed of the interaction between
the receivership application and Mr. Ablyazov’s rights under the European
Convention on Human Rights (because the Court is under a legal obligation not to act
inconsistently with his Convention rights) it does not appear that recognition of those
rights would lead to any different conclusion from that which would flow from
considering whether it was just and convenient to make the Receivership Order. I
shall, however, in addition to considering whether it is just and convenient to make
the order, consider whether such an order is justified and proportionate having regard
to Article 1 of the First Protocol and Article 8 of the Convention.

(c) The proprietary claim

158.

159.

160.

Part of the Receivership Order concerned the Bank’s proprietary claim to some $80m.
Mr. Trace submitted that this claim was fatally flawed. The Bank relies upon the
expert evidence of Kazakh law from Mr. Markov. Mr. Ablyazov relies upon the
evidence of Mr. Newton and, because Mr. Newton’s experience was called into
question, on Professor Maggs. I have therefore had regard to the evidence of Mr.
Markov for the Bank and Professor Maggs for Mr. Ablyazov.

The dispute is whether Kazakh law recognises a proprietary claim to electronically
transferred money. Mr. Markov says that it does pursuant to Chapters 15 and 48 of the
Civil Code. Professor Maggs says that Chapter 15 concerns identifiable physical
property and so does not extend to electronically transferred money. He says that the
claim provided by Chapter 48 cannot be. described as proprietary because the
transferor retains no interest in the fund until the court provides a remedy.

I do not have to decide this dispute. All that I have to decide is whether the Bank has a
good arguable claim to a proprietary claim. Having considered the rival expert reports
and counsel’s submissions I consider that it does.

Conclusion

161.

Although Mr. Ablyazov has stated that he will obey the orders of this Court that
statement has to be considered in the light of his conduct in this action. He has stated
that he can be trusted but I have to have regard not only to what he has said but also to
what he has done. Consideration of his conduct with regard to disclosure of his assets
in August/September 2009 and of his failure to inform Clyde and Co. of dealings in
the Eurasia Tower and BTA Kazan has left me unable to trust him not to deal with his
assets in breach of the Freezing Order.
162.

163.

164.

165.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 36 of 109

Something more than the Freezing Order is therefore necessary to assure the Bank of
the protection it is entitled to. A Receivership Order ought to ensure that protection.
But a receivership of all of Mr. Ablyazov’s assets is invasive and carries with it a risk
of damage to those assets and to Mr. Ablyazov’s interests. His freedom to buy,
manage and sell his assets in the ordinary course of business will be curtailed and he
will only be able to do so with the consent of the receivers or of the court. I have
therefore asked myself whether something less than a receivership could give the
Bank adequate protection such as a freezing order strengthened by appropriate
undertakings from Mr. Ablyazov. What has been offered in that regard is not
sufficient. Letters from the nominees and companies in the asset chain do not go far
enough. The nominees and companies are not subject to the jurisdiction of this court
and no provision is made for the shares or other evidence of title to be deposited in
“safe” hands. It therefore appears that there is no alternative to a receivership.

The risk of damage to Mr. Ablyazov can be reduced in several ways. The
Receivership Order is designed to enable the receivers to assume control of the
companies at the top of the respective chains. That should serve to limit very
substantially the risk of damage to Mr. Ablyazov and the operating businesses for the
operating businesses can be operated as before. In principle once share certificates or
other instruments of control have been deposited with the receivers the assets should
be “secured” and the receivership will have achieved its purpose. Any risk of damage
caused by persons becoming aware of the receivership can be reduced by Mr.
Ablyazov co-operating with the receivers. He can give appropriate instructions to his
nominees and if necessary the operating businesses. In addition it is to be noted that
the proposed order does not give the receivers power to carry on the business of a
company without a further order of the court. The receivership ought not to interfere
with bona fide decisions Mr. Ablyazov may wish to take with regard to the
management of his investment portfolio. The policy underlying the Freezing Order
does not prevent such decisions and there is therefore no reason why the Receivership
Order, which is made in support of the Freezing Order, should prevent such decisions.
Any disputes between the receivers and Mr. Ablyazov regarding such decisions will
have to be resolved by the Court.

It may be that some loss may still be caused. It is difficult to make a realistic or
intelligent estimate of such loss in respect of which the Bank may be ordered to
compensate Mr. Ablyazov should it hereafter be held that the Receivership Order
should not have been granted (because the stay application succeeds or the Bank fails
to establish its claims). However, I do not consider that that should lead to a refusal to
make the Receivership Order. In the circumstances of this case, in particular the
nature of the case against Mr. Ablyazov and the reasons why I am not convinced that
he can be trusted to obey the Freezing Order, I consider that despite that difficulty the
Receivership Order should be granted.

In view of the financial condition of the Bank the Bank’s undertaking in damages
must be fortified. I am not satisfied, having read Professor Maggs’ report, that any
charge which the Bank grants (to ensure that the debts owed by certain of the
companies controlled by Mr. Ablyazov can be applied in discharge of any damages
which the court should hereafter order the Bank to pay Mr. Ablyazov) will be
enforceable. There will therefore have to be some other form of fortification of the
Bank’s undertaking in damages. The cross-undertaking must be of real value. There
166.

167.

168.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 37 of 109

must be either a payment into court or a guarantee from a first class bank. I consider
that a sum of £25 million would be appropriate having regard to the factors which
serve to limit the risk of damage, namely, the proposed strategy and the ability of Mr.
Ablyazov to limit any damage by co-operating with the receivers. That is in addition
to the £7.5 million that has been provided as fortification of the undertaking in
damages given to obtain the Freezing Order. In addition a further sum of £7.5 million
should be provided in respect of the costs of the receivership. The sufficiency of the
fortification and the sum in respect of costs should be kept under review. Finally, the
£5 million bond offered in respect of the receivers’ liabilities pursuant to CPR 69.5
should be put in place.

For these reasons I have concluded that it is just and convenient to make the
Receivership Order and that such order is justified and proportionate having regard to
Article 1 of the First Protocol and Article 8 of the Convention.

The terms of the draft Receivership Order nevertheless require some alteration.
Paragraphs 6-8 (and Schedule 2) should be amended to take account of my
conclusions as to the appropriate fortification of the undertaking in damages. The
obligations in paragraphs 9 (a)-(d) and 11 should, in the light of Mr. Ablyazov’s
evidence, be ones of “best endeavours” and “as soon as practicable”. Paragraph 10
should be amended by deleting the words “and in any event by no later than 7 days
after the communication referred to below”. Adverse comment has been made by Mr.
Trace of paragraph 12 but since it is governed by the phrase “as the receivers may
reasonably require” it does not appear to me to be objectionable.

There was a dispute as to whether the property which is the subject of the
Receivership Order can be ordered to “vest” in the receivers. I consider that it can but
of course it would be held subject to the orders of the court. My reasons for so
concluding are:

i) The mere making of a receivership order does not vest the property of the
defendant in the receiver; see Vine v Raleigh (1883) 24 Ch.D. 238 at p.243,
Claythorpe Properties v Evans [1986] 1 WLR 1223 at p.1228, Masri v
Consolidated Contractors Int. [2009] QB 450 at paras.53-54 and Picarda on
Receivers, Managers and Adminstrators 4" ed. p.439.

il) Nevertheless it is open to the court to order that property of the defendant vest
in the receiver if that is necessary for the purposes of the receivership. This
seems to me to be right in principle and I can see no reason why it is wrong in
principle. Although the property may vest in the receiver he holds the asset as
directed by the court.

iii) | Mr. Smith did not refer me to any authority where this was specifically held to
be the case. He did however refer me to the orders made in Derby v Weldon. In
that case the Vice Chancellor ordered that assets be “delivered or transferred”
to the receiver. In the Court of Appeal such an order was described as “usual”;
see Derby v Weldon [1990] 1 WLR 1139 at p.1146 per Dillon LJ. At p.1150
Dillon LJ referred to “the traditional view that receivership assets ought to be
held solely by the receiver appointed by the court.” In some contexts delivery
and transfer may refer just to possession. But the order of the Court of Appeal
169,

170.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 38 of 109

in that case specifically ordered that the defendants procure that certain assets
“be vested in the sole name and under the sole control of the Receiver.”

iv) In re Sacker (1888) 22 QBD 178 is not an authority to the contrary. It was
there held that where an order had been made that a certain sum be paid to the
receiver that receiver was not a “creditor” entitled to present a bankruptcy
petition. The reasoning is at p.183. “There is no debt due to him from the
appellant”. I do not regard that decision as authority for the proposition that
the court has no power to order that certain assets be vested in a receiver.

I therefore see no objection in principle to paragraph 11 of the order or to the powers
3 and 4 in Schedule 4. In the circumstances of the present case where the shares are
held by a nominee for Mr. Ablyazov that order and powers are appropriate.

I ask the parties to agree the terms of a revised draft order. After judgment is formally
handed down Counsel should also address me on the question whether future
applications concerning the receivership should be in the Chancery Division or in this

_ court; see para.22 of the draft order.

The Clarification Application

171.

172.

173.

By this application Mr. Ablyazov seeks clarification of the meaning of the Freezing
Order, in particular, whether the assets which may be dealt with in the ordinary course
of business (the Angel Bell liberty) include all of the assets otherwise caught by the
Freezing Order. J have already dealt with this matter when dealing with Mr. Smith’s
allegations of breach; see paragraphs 48-74 above.

Mr. Ablyazov also seeks a declaration that certain dealings with assets were not in
breach of the Freezing Order, in particular, dealings with BTA Kazan, Omsk Bank,
BTA Armenia, Project D, Paveletskaya Station Square and Eurasia Tower.

Having regard to my decision to appoint receivers in respect of Mr. Ablyazov’s assets
this application loses much of its relevance so far as future dealings are concerned
because decisions regarding the sale of assets will be in the hands of the receivers and,
in the event of dispute, the court. But the application is still relevant so far as past
dealings are concerned.

The past transactions

174,

175.

176.

Mr. Ablyazov seeks a declaration from the court that certain transactions were not in
breach of the Freezing Order. The Bank says that it would not be appropriate to grant
declarations.

In so far as Mr. Ablyazov seeks declarations that certain proposed transactions will
not be in breach of the Freezing Order I consider that it would not be appropriate for
the court to grant the declarations. Whether or not a transaction is in the ordinary
course of business can only be determined when that transaction has taken place.

However, where a transaction has taken place and the Bank has asserted that it is a
breach of the Freezing Order or questioned whether it is a breach it seems to me that
the court ought to resolve the question. Whether or not there has been a breach of the
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 39 of 109

Freezing Order will not be an issue at the trial. In fairness to Mr. Ablyazov there
ought to be a means by which he can ascertain whether a transaction, which the Bank
does not accept was within the ordinary and proper course of his business, was or was
not within it.

BTA Kazan

177.

178.

The Bank does not, on this application, say that the sale of Mr. Ablyazov’s interests in
BTA Kazan in October 2009 to Mr. Pukhlikov was a breach of the Freezing Order
because it cannot presently say whether Mr. Ablyazov’s assets were or were not at
that time in excess of the then maximum sum which applied to the Freezing Order.
However, it does not accept that the sale was in the ordinary course of business.

Mr. Ablyazov has said in his Second Witness Statement dated 16 March 2010 that the
sale was in the ordinary course of his business. He has said that the sale was made
pursuant to a long standing strategy of divesting from BTA Kazan. There is no
evidence to the contrary. I have already rejected Mr. Smith’s arguments to the effect
that Mr. Ablyazov did not carry on a business personally. The burden of proof is on
the Bank to establish that a transaction was not in the ordinary course of business. It
has not discharged that burden of proof. It follows that Mr. Ablyazov is entitled to a
declaration that the sale of his interest in BTA Kazan was in the ordinary course of his
business.

Eurasia Tower

179.

180.

Mr. Ablyazov has set out the circumstances in which his interest in Eurasia Tower
was sold in his Third Witness Statement dated 16 April 2010. The events which led to
the sale were the withdrawal of a line of credit of US$500m. from Sberbank after the
“nationalisation” of the Bank in February 2009. Construction of the project stalled
and Mr. Fuchs, who owned the other half of Eurasia Tower, suggested the provision
of alternative finance or the sale of Mr. Ablyazov’s interest. He began to make offers
in April or May 2009. Negotiations continued during the summer of 2009. Sberbank
was also making proposals which entailed Mr. Ablyazov buying out Mr. Fuchs and
transferring a 25% interest in Eurasia Tower to Sberbank. In September 2009 Mr.
Ablyazov agreed to sell his interest to Mr. Fuchs for $50m. Title eventually passed in
December 2009.

Mr. Ablyazov’s account is consistent with the sale being in the ordinary course of his
business. There is no evidence to the contrary. He is therefore entitled to a declaration
that the sale was in the ordinary course of business.

Omsk Bank

181.

182.

I have already rejected the Bank’s case that the sale of Mr. Ablyazov’s interest in
Omsk Bank was not in the ordinary course of business.

Declarations are also sought in respect of proposed sales of, or negotiations with
regard to, his interests in BTA Armenia, Project D, and Paveletskaya Square.
However, as I have already stated I do not consider it appropriate to make
declarations until a transaction has actually taken place.
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 40 of 109

The Passport Application

183.

184.

185.

186.

The order for delivery up and retention of Mr. Ablyazov’s passport has been in force
for over 8 months. The jurisdiction to make such an order was exercised so as to
ensure that Mr. Ablyazov complied with the asset disclosure obligations under the
Freezing Order. He sought return of his passport by an application dated 14 January
2010. That application has been heard at the same time as the Receivership
Application because the Bank says that the continuation of the order is necessary to
ensure that he complies with his obligations under the Receivership Order.

Mr. Matthews submits that it is not necessary for the order to remain in place. He says
there is no risk that Mr. Ablyazov will leave this jurisdiction. Mr. Ablyazov is now
settled here with his wife and three youngest children, two of whom are in school
here. The eldest is soon to attend University in London. Mr. Ablyazov has applied for
permanent leave to remain here. He has no incentive to leave this jurisdiction because
he is contesting the litigation which has been commenced here against him by the
Bank. To leave the jurisdiction and ignore his obligations under the Receivership
Order would imperil his defence of the proceedings and be wholly contrary to his
interests. Mr. Matthews says there is no evidence of any risk that he will leave the
jurisdiction and ignore his obligations under court orders.

Mr. Smith submitted that whilst Mr. Ablyazov is presently here there is no evidence
that he has any assets here. His cross-examination did not suggest any. He has,
however, access to considerable funds, as shown by the quality and quantity of his
legal team, and he could easily move to another jurisdiction. If his assets abroad are
not “secured” (using that word in a non-technical sense) he may leave this
jurisdiction, confident that any judgment given against him cannot be enforced against
his assets.

The passport order is an interference with Mr. Ablyazov’s freedom to travel. It should
only be maintained if it is necessary to ensure that he complies with his obligations
under the Receivership Order. I have given this matter anxious consideration. It is an
unusual order. However, I am persuaded, in the light of (a) my conclusion that,
considering his prior conduct, I am unable to trust him to obey the Freezing Order and
(b) the points made by Mr. Smith, that the continuance of the passport order is
necessary, at any rate for a short further period. The receivers’ first report, which will
be due in 6 weeks, is an appropriate and early time to consider whether it should be
renewed thereafter. If by then Mr, Ablyazov has taken significant steps to arrange for
share certificates in the companies at the top of the asset chains to be held by the
receivers it may well be that the passport order should not be renewed. I will therefore
continue the order but only until the receivers’ first report at which time the Bank, if it
wishes the order to be renewed, must apply for an order to that effect.

Conclusions as to the three applications:

 

187.

(i) The receivership application succeeds; see paragraphs 161-166.

(ii) The clarification application succeeds; see paragraphs 48-74 and 171.
Declarations may be made in respect of the sales of BTA Kazan, Omsk Bank and
Eurasia Tower; see paragraphs 177-181.
188.

Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 41 of 109

(iii) The passport application fails; see paragraph 186.

I adjourn the hearing pursuant to paragraph 4.3B of the Practice Direction to CPR 52
to enable the form of the order and other matters to be debated on a date to be
arranged.

Postcript

Stephenson Harwood’s letter to me dated 13 July 2010

189.

190.

19].

By a letter dated 13 July, after I had sent my draft judgment to counsel, the Defendant
asked that I postpone giving judgment in this matter on the grounds that he has “after
making the necessary enquiries, decided also to offer the provision of share
certificates and documents establishing participation rights in the holding and
nominee companies (so far as permissible by law) to [Stephenson Harwood] to be
held to the Order of the Court.” He asked that I should postpone giving judgment
pending consideration of this further undertaking and further submissions. It was
suggested that there should be a hearing to discuss the terms of the new undertaking. I
declined to postpone giving judgment, for these reasons.

When Mr. Smith replied to the submissions made on behalf of the Defendant on 28
May and 8 June 2010 he made the point that no undertaking had been offered to
deliver up or supply documents of title or share certificates; see Transcript 28/5/10 at
pp.169-170 and Transcript 8/6/10 p.22. That was 5-6 weeks or so ago. Since then
there have been two further witness statements from Mr. Ablyazov, Nos. 7 and 8,
dated 14 June and 18 June 2010 and further submissions by Mr. Trace dated 18 June
2010. The undertaking now offered was not offered in those further statements or
submissions. On the contrary Mr. Trace submitted that the lodging of documents of
title engaged “potential tax and regulatory questions, in relation to which [Mr.
Ablyazov] is seeking advice. He will revert as soon as possible.” He did not revert
and no suggestion was made that an appropriate undertaking might be offered. Almost
a month has passed since that submission was made. On 30 June Stephenson
Harwood indicated a desire to reply to the final submissions and further evidence
submitted by the Bank. A request was made to respond on the question of
Kazakhstani insolvency law to which request I acceded. No mention was made that
Mr. Ablyazov might offer a new undertaking. On 7 July I received from Stephenson
Harwood Professor Maggs’ report as to the enforceability of the charge offered by the
Bank as fortification for the Bank’s undertaking in damages. I was then able to
complete my judgment. No suggestion was made on 7 July that a further undertaking
might be offered. I completed my draft judgment over the weekend and my clerk sent
it to counsel on Monday 12 July. Shortly thereafter Stephenson Harwood sent me “an
amended version of the undertakings document” which contained a new undertaking
“to provide (so far as is permissible by law) to Stephenson Harwood any and all share
certificates and documents establishing rights which are within the First Defendant’s
possession or control in the companies named in Schedules 1,2 and 3, to be held by
Stephenson Harwood.”

I dealt with the sufficiency of the undertakings offered at the hearing in paragraphs
137-140 of this judgment. I noted Mr. Trace’s last written submission on the matter. I
observed that the potential tax and regulatory questions had not been identified. That
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 42 of 109

remains the position. The new undertaking offered is prefaced “so far as permissible
by law” without any explanation as to why delivery up may not be possible.

192. I consider that the Defendant has had ample opportunity to offer the new undertaking
since 28 May. In the event he offered it, without any warning that he might be about
to do so, after I had sent out my draft judgment on 12 July following the completion
of the service of written evidence on 7 July. I accept, as I have been informed by
Stephenson Harwood, that the contents of the letter containing the new undertaking
had been drafted before my draft judgment had been received. But the fact remains
that Mr. Ablyazov had ample opportunity to provide this undertaking between 28
May and 7 July, when evidence and submissions were closed.

193. Even if there were good reason for the delay in informing me of the new undertaking,
it is unclear precisely what is being offered because the undertaking is prefaced “so
far as is permissible by law” without any explanation offered as to what obstacles
there might be. This appears to mirror Mr. Trace’s submission that delivery up
“engages potential tax and regulatory questions”. (I have since been informed by
Stephenson Harwood in a letter dated 15 July received at 1841 that the reason for the
qualification is that companies in CIS countries do not produce share certificates. If so
then the proposed undertaking in respect of CIS companies would offer no comfort.)

194. In the circumstances I did not consider it fair and just to delay the giving of judgment
in this matter any further in order to allow “further submissions” and “a hearing a
discuss the terms of the undertaking”.

Further evidence received on 15 July from Stephenson Harwood

195. After I had informed Stephenson Harwood that I did not consider it appropriate to
postpone formally handing down judgment my clerk received (by email at 1142 on 15
July) a further communication from Stephenson requesting me “to delay any decision
as to handing down the judgment” until I had considered “key new evidence” which
had been “unearthed overnight” and which related to “two key findings” in my draft
judgment.

196. Later that day (by fax at 1716) I received a witness statement from Mr. Flannery and
Mr. Ablyazov’s Ninth Witness statement.

197. The content of these two statements relates to paragraphs 104-116 of my judgment
and in particular to paragraphs 113-116. Evidence has now been provided that on 30
September 2009 Mr. Ablyazov, when asked by Clyde and Co. whether the list of
assets had changed, replied “Yes. Eurasia agreement signed. BTA Kazan.” These
passages are said to be self — explanatory. I understand it to be said that the sales of
Eurasia Tower and BTA Kazan had been disclosed by Mr. Ablyazov to Clyde and Co.
on 30 September 2009.

198. This issue had been raised by Mr. Smith in his submissions. He did so prominently
and forcefully. He said that Mr. Ablyazov had misled his own solicitors (and hence
the Bank and the Court) by not informing Clyde and Co. of the sales of Eurasia Tower
and BTA Kazan; see the transcript for 26 May pages 68-77. Mr. Trace replied to those
submissions on 27 May. Whilst Mr. Trace said that there was no evidence from Clyde
and Co. no suggestion was made that such evidence would or might be obtained; see
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 43 of 109

the transcript for 27 May at pp.82-85. Mr. Smith returned to the matter in his reply on
8 June. He pointed out that if there was any relevant evidence to give it could have
been given; see the transcript for 8 June at p.34.

199. Mindful that there might be further evidence on this matter at trial I expressly
referred, in paragraph 113, to “the evidence presently available”. Mindful that these
were interlocutory proceedings when findings of fact with regard to issues to be
resolved at trial could not be made I used the phrase “substantial grounds to believe”
when dealing with what I regarded as the significant questions; see paragraphs
85,114,116 and 126 of the judgment.

200. Stephenson Harwood must have been aware of the point being made by Mr. Smith. It
appears that no attempt was made to adduce evidence on the point until after
Stephenson Harwood had seen my draft judgment. Mr. Flannery states that on reading
my draft judgment he was surprised to read the “very serious findings”. He then
inquired into the matter with Mr. Ablyazov and Clyde and Co.

201. Mr. Flannery does not explain why these inquiries were not made on 26 May when
Mr. Smith made the allegations in question, or on 27 May when Mr. Trace said there
was no evidence from Clyde and Co. or on 8 June when Mr. Smith said that if there
was any relevant evidence to give it could have been given. He does not explain why
he was surprised by findings on matters which had been prominently canvassed in
argument.

202. Draft judgments are sent to the parties to enable time and costs to be saved in formally
handing down the judgment. They are not provided to enable a party to see what
adverse findings have been made by the judge on matters argued before the judge so
that he may then go about obtaining evidence to refute those findings before the Judge
formally hands down his judgment. To use a draft judgment in that way is to abuse
the practice by which judges provide draft judgments to counsel.

203. I therefore consider that it would be inappropriate for me to alter my judgment in
order to take account of new evidence obtained in the circumstances that this new
evidence has been obtained.

204. Notwithstanding the circumstances in which the new evidence has been obtained I
have considered whether it would be unfair or unjust to Mr. Ablyazov not to review
my judgment in the light of the new evidence. I am not persuaded that it would be, for
these reasons.

i) The new evidence is very sparse. Mr. Ablyazov does not say precisely what he
told Clyde and Co. Mr. Flannery says that Mr. Ablyazov told him that “he was
sure that he had informed Clyde and Co. about both of these transactions.” In
this regard it is to be noted that Mr. Hardman had raised the inconsistency
between Mr. Ablyazov’s disclosures as to the sale of Eurasia Tower and
Clyde’s letter dated 15 December 2009 in his Fifteenth Witness Statement at
paragraph 40. Mr. Ablyazov replied to that in his Fourth Witness Statement at
paragraph 11. I referred to his response in paragraph 111 of my judgment. He
did not at that stage suggest that he had disclosed to Clyde Co. that Eurasia
Tower had been sold. He offers no further details or explanation in his Ninth
Witness Statement.
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 44 of 109

iii)

If, nevertheless, I were to hold, on the basis of the new evidence, that Mr.
Ablyazov had told Clyde and Co. about the sale of Eurasia Tower and BTA
Kazan, I would remain of the view that his seriously inadequate initial
disclosure of his assets provides reason to believe that the Freezing Order may
not provide the Bank with adequate protection against the risk that his assets
may be dissipated prior to judgment. There would remain a risk that he may
use the structure by which he holds his assets to deal with them in breach of
the Freezing Order. I would still be left unable to trust him not to deal with his
assets in breach of the Freezing Order.

I would therefore not alter my conclusion that it is just and convenient to make
the Receivership Order and that such an order is justified and proportionate.
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 45 of 109

EXHIBIT E
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 46 of 109

JPMorganChase &

Linda S. Lewis

Vice President

Office of the General Counsel
Legal Department

May 16, 2011
Farrah Berse, Esq.
Paul Weiss, Rifkin
Wharton & Garrison

1285 Avenue of the Americas
New York, NY 10019

RE: Subpoena
Dear Ms. Berse:

I enclose for your review wire transfer requested in your subpoena. Please be
advised that a search was conducted of the 35 wires and was only able to locate five of them. A

further search was conducted and we do maintain two correspondence bank account 400015005 in
the name of BTA Bank and 544702991 in the name of Raiffeisen Bank International.

Very truly yours,

Linda S. Lewis

Enclosure

JPMorgan Chase & Co. * NY1A437, 1 Chase Manhattan Plaza, 26" f1., New York, NY 10005
Telephone: 212-552-0986 * Facsimile: 212-552-4786
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13

Copy of Transaction Record:

Transaction Details for TRN: 894370017 5js

Region: US

 

Instruction Date:
Payment Date:

Transaction Amount:

Transaction Type:
Customer Swift ID:
Debit Fin Entity:
Credit Fin Entity:
Credit Reference:
Debit Reference: |
Sender's ID:

Bene Flag:

Debit Party:

Bank to Bank Info:

Credit Party:

Account Party:

Bene:

6/23/2008
6/23/2008
$876,080.00

BT

DRESDEFF

o1

O41

SWF OF 08/06/23
9435CHAS23060290
SWF/ABKZKZKXSMK
B

00000400015005
BANK TURANALEMNEW NOSTRO

97 ZHOLDASBEKOV ST
ALMATY KAZAKHSTAN O5005-1

/BNF/PMNT ON AGREEMENT BETWEEN BTA
BANK AND DREY ASSOCIATES LIMITED
AD 20080512

00000011319209

DRESDNER BANK AG FRANKFURT
AUSLANDSBANKENBUCHHALTUNG
JUERGEN-PONTO-PLATZ2Z 1
FRANKFURT GERMANY D-60301
AS TRASTA KOMERCBANKA

9 MIESNIEKU STREET

LV RIGA LATVIA 1050

/LV18KBRB1111212941001
DREY ASSOCIATES LIMITED

Page 47 of 109
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 48 of 109

Copy of incoming SWIFT instructions:

 

 

Type: SWIFT Direction: R TRN: 884370017515
4awunt 9 7b,000.00,15D Type SWIFT
IRN 684370017535 Taps tontets 6/73/2008
Dracton R
eld 20 9435CHAS2Z3060298 Sreld7)  NONRET
Ulsan 707
Ink 894943 oh 98RI3T
Sender BIC | ABK2KZKX . fe.ever Bll CHASUS33

(2 EOALHASUSSIROKMKS 65 1989137)
C2 G22 198108067 IRBRAKARMASMR 7S 730949 EGGS IDADIN
C3 €tO6 ITBS-~E3755166 BIRD}

ca
20 9435CHAS23060290
a NONEEF

32K DOUEZSUSDS 76086,

S6R DRESBREEF

STA XBRBLV2X

S8B sLVASKERB1112212541004
DREY AGSDCIATOS LIMITER

72 fBNE/PMNT ON AGREEMENT BETVFEN

TEYT f/8TR GANK AND DREY ASSOCIATES

SALTMITED RD 70080512

)

CF OCAC SE InGSaa)

CCHK D316S6CH16E8)
MSG TRACE

0206273 0548192 HOV FRM SVIFT WIS VHT EN
080624 854137 ROUTED Ih NERA
980623 954132 DUPL CHK ORL

980623 044232 DEILY TO SSWECEP

Copy of outgoing SWIFT:

 

Type: SWIFT Directlan: 8 TRN: 984370017535
A~ount 876,080.00/USD Type SWIFT
TRN 884970017595 Trae wt bate & 73/2008
Leas &
+ uv "$843 2001 1539 Field + SWE OF 08,06, 23
wee teen 1202 ,
ISN 189997 ccN 6gg0n0e
cerse BSC CHASUS33 Rerawer bl! = DRESDEFF

C4 POM HASUSS M100 7457189938)
(2 L70ZDRESDREROON)
a
2a BSiS700175I5
24 SRE ON HBs06F23
32h 98062 IUSDS76080,
S?R | ABRZAZ1 X51,
52R  ¥BRBLV2X
sep /LVASKREB1111212941001
DREY ASSOCKRTES LIMITED
12 ABNEJRIOTT OW AGRERYENT BETHERY BID
thal AADANK AND DRY ASSOUERELS LIMITED
2fRN 20080417
F{78OOR/8R437G0474T5
-3
MSG TRALE
UON62> OFM 7E4 RCV KRW KEPSWE SEQ 096567
He0G23 064215 SEN TG UPL FN
000623 G42 ACK BY SWLET
080623 54238 RCV RESP FEM WHI-EN
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13

Copy of Transaction Record:

Instruction Date:
Payment Date:

Transaction Type:
Customer Swift ID:
Debit Fin Entity:
Credit Fin Entity:
Credit Reference:
Debit Reference:
Sender's ID:

Bene Flag:

Debit Party:

Bank to Bank Info:

Credit Party:

Account Party:

Bene:

 

Transaction Details far TRN; 698530017 5fs

Transaction Amount:

 

Region: US

6/23/2008
6/24/2008
$83,000,000.00

BT

DRESDEFF

o1

o1
ABKZKX120SKBRB2XK
0348CHAS24060290
SWF/ABKZKZKXSMK
B .
00000400015005
BANK TURANALEMNEW NOSTRO

9F ZHOLDASBEKOV ST
ALMATY KAZAKHSTAN 05005-1

/BNF/PMNT ON AGREEMENT BETWEEN BTA
BANK AND DREY ASSOCIATES LIMITED
AD 20080512

00000011319209
DRESDNER BANK AG FRANKFURT
AUSLAND SBANKENBUCHHALTUNG
JUERGEN-PONTO-PLATZ 1
FRANKFURT GERMANY D-60301
AS TRASTA KOMERCBANKA

9 MIESNIEKU STREET

LV RIGA LATVIA 1050
/LV18KBRB1111212941001
DREY ASSOCIATES LIMITED

Page 49 of 109
Case 1:13-mc-00001-P1

Copy of incoming SWIFT instructions:

Types SWIFT

Document 3-2

Direction: &

Filed 01/02/13 Page 50 of 109

TRNi &9853900175F5

Amr int
kal
feechinn
field ey
Sut Type
nN
Sender BIC

fv

83,000,000.00,°USD
69BS300 1 7SFS

x

D948 RAS? 1066290

Q2ne
695024
ABKZK2KK

SWIFT
617452008

Type
Trares whi Male
Fell ei ABKCKRAZOSKBEROZK

Bbdds3
LHASUS33

ula
Re ever RIC

(1 FOICHASYS3 IAXKKS 651069853)

(2 0202094 202062408) 2K2KXASHR75759 94479080622235 Ny
(3 (208 IBS-F4795112 BIK))

a

20 «©=—-G34. BCHAS 24060290

22 ABROKX1205KBRB2X

3ZR GROG ZAUSDSIHOTONS

56K DRESDRREF

STA KEBBLY?X

SD /LV1SKSRBI1912 17941001
UWRKXY AGSOCIATHS LIK LTED

3200 ZANE UY. OW ALRGRVRNT ROCWREN

J¢RTA BANE ANT UORY ASSL LATES

JELMATED nM 70000552

>

C+ OME 1L0N0SE9E)

(CHK LIGBAERTA PAE) 5
MSG TRACE- ae
080623 234242 BCV ERM SWIET VIR WRI-EN
990623 294252 ROUTEN IN MERYR

080623 234252 DUPL CHK OR1

880629 234252 DELIV TO SSWEGEP

Copy of outgoing SWIFT:

Type: SWIFT

Direction: &

TRN: 6985900175F5

 

Amant
oe

Dire tne
Parte,
sent ispe

anryetet as?

we

83,000,000,00/uSD

69853001 75FS
s
GSBSI00ETSES
1202

FOSOIS
CHASUSTS

SWIFT
6/24/2008

Type
Trans han Dale
Field. £ ABK2KX1LZOSKBRH2X

wu
Wee vert Bue

OriTa2
DRESOLIT
CL EO LCHASTS3 ICXNK? 157295644)
(2 L20ZDRESDEFF OOOWN}
(4
20 «= 6 9853001 75FS
21 «= RBKZKXL205KbRR2xX
32R sBcs74auSbe200G000
52h ABLZLZNASME
57K LREBLYZX
882  /L¥1SKBRBI111212941001
DREY ASSOCIATES LIMTTEB
72, ¢BNEZPUNT ON AGERIWENT DBIVERN BTR
Z/BANK AND DEEY ASSOLLATHS LLMLTRD
F/R POKOHTIZ
FFFROOKSEFESINGLITES
7
MSG TRACE
80624 011229 RCV FRX RGEPSWE SEQ 149170
99624 011230 SENT TO WBT-EN
80624 C412 ALK BY SWEET
G8G624 011242 RCV RESP REM WHI-RN
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13

Copy of Transaction Record:

 

Transaction Details for TRN: 950880017 9fs Region: US

Instruction Date:
Payment Date:

6/27/2008
6/27/2008

Transaction Amount: $41,106,000,00

Transaction Type:
Customer Swift ID:
Debit Fin Entity:
Credit Fin Entity:
Credit Reference:
Debit Reference:
Sender's ID:

Bene Flag:

Order Party:

Order Bank:

Debit Party:

Details of Payment:

Credit Party:

Account Party:

Bene:

CHP

DRESUS33

o1

OL

SWF OF 08/06/27
ASW 25499/270608
SWF/RZBAAT WW

N

/LVOSKBRB1111212571001

DEVESTA LIMITED

AKARA BLDG 24 DE CASTRO STR
WICHAMS CAY I ROAD TOWN TORTOLA
VIRGIN ISLANDS BRITISH

AS TRASTA KOMERCBANKA
9 MIESNIEKU STREET
L¥ RIGA LATVIA 1050

00000544702991
RAIFFEISEN ZENTRALBANK
OESTERREICH AG

AM STADTPARK 9

1030 VIENNAAUSTRIA

PAYMENT IN ACCORDANCE WITH
SUB-CONTRACT AGREEMENT IN RESPECT
OF COMPENSATION AGREEMENT DATED 18
JUME 2008

MBR/0830

DRESDNER NY FEDERAL NY NY
L301 AVE OF THE AMERICAS

NEW YORK NY 10019-
CHP/093933

DRESDNER BANK (SCHWEIZ) AG
UTOQUAI 55

CH-8034 ZURICH, SWITZERLAND
/CH6008736012554320201

FM COMPANY

MARSHAL ISLAND, RUOTN TOWN, 21.

Page 51 of 109
Case 1:13-mc-00001-P1

Copy of incoming SWIFT instructions:

Document 3-2 Filed 01/02/13 Page 52 of 109

 

ane eae
Hes

Type: SWIFT

41,196,000.00/USD
98088001 79F5

Ugechon RB

field on

wetl

cuker

0103
129158

spe
IN
RIC

no

Direction: R

ASW25499/270608

R2pAAT WY

CL BOWHRSUS 3 3AKKN8E 51495088)

(2 0103145708067 IRZBAHTWWAXXNE 7 7512925808067 1685 IN)

(2% (108 ASW25499/7 706088)

C19 STP)

a
20
238
32n

WSW25199/2 10608
cRED
De0627USD411109000
33B  VSD41100000
SOK /LVGSXBE91911712571001
DEVESTR LIMITED
AKAEA BLDG 24 DE CASTRO STR
WICHAMS CRY L, BORD TOWN, TORTOLA,
VLBGIN ISLANDS, BELTTSH
42h KBRELW?X
S38 40/544 102991
SR DEESCHZS
4S #CHEDOS 736012557 370201
¥M COMPANY
MARSHAL ISLENG RUOTN TOWN 21
7800 PAYMENT TN ACCORDRNCE WITH SUB LONT
RACT RGREEXEFNE IN RESPECT OF [ OMPEN
SAYTON AGREPMENT DATED 19 JUNE 2008
Vn ouR
ae)
Cl OME 6AIC166)
{UMK 03 7ATASS5DC9))
MSG TRACE
060677 O89718 RCW EBM SWLET VIA WET-FN
060627 035719 ROUTED IN MREVA
O#0622 O85749 DUPL CHK ORL
080627 G8571L3 DELLY TQ SSWEGEP

Copy of outgoing CHIPS Payment:

Trane ation [ yte

Fete hic

TRN: 9508900179FS

SWIFT
6/27/7008

Tepe

Cris <t

495068
CHASUS33

uN

 

a

yun
IRN

c-<ction

>

et

oN

sie ke

TEXT

Type: CHIP

41,(00,000.00,05D
95088001 79FS

s
0233538
630

Direction: &

19
1201)
peau
17601
pores
$3081
{3204
bazar

o2200806270002

O830N11

acdtiovencos

7205

2UsStALisDOSS *
ss0aen0nT9¥S*

SUF OF 08/96/27"

(4101 093933"

(AZZE OLN ORG I7601205647370Z205¢

xX" COMPANY”

MARSHAL ISLEND, RVOTN TOWN, 21 *
15021] DLVOSXBRB1111212571001*
DEVRSTA LTXTTID*

AKARK BLEU 24 DE CASIRD STR?
WICHRMS CAY I BOAD TOWN TORTOLRY
VIRGIN ISLANDS BRITISH*

45221 BEDRBLV?K*

RS TRAST LOMRRCRANKA’

3 MIRSNIEKY STREET *

LY RIGA LATYTA 1050°

1522} *PRIEPETSEN SENTRALBANK*
GESTERREICH AG*

RY STADTPRRA 9*

1930 WIEANAAUSTERIA*

{600{ PRYHENT IN ACCORDANCE WITH*
SUB~CORTRACT AGREEMENT IN EESPECT*
OL { OMPENSATION AGRERMENT DATEO 18*
JURE 2000

T6hOt sENS/RIRRATIAN XY 00/0070 196) 200006? 7085903

TRN: 9508800179FS

“yf HIP

ra oattentuse 6/27 2008

MIQT 38

1038! 022008062 26002101689530403 1205037221923 35380858020370950858033 19

. 000000
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13

Copy of Transaction Record:

Instruction Date:
Payment Date:
Transaction Amount:
Transaction Type:
Customer Swift IO:
Debit Fin Entity:
Credit Fin Entity:
Credit Reference:
Debit Reference:
Sender's ID:

Bene Flag:

Order Party:

Order Bank:

Debit Party:

Details of Payment:

Credit Party:

Account Party:

 

 

Transaction Details for TRN: 1757 100 184js Region: US

7/2/2006

7/3/2008

$400,000.00

BT

ITASRUMM

o1

o1

SWF OF 08/07/02
ASWS4420/020708
SWF/RZBAATWW

N
/LVO7KBRB1111213355001
CITY VENTURES LIMITED

306 VICTORIA HOUSE VICTORIA MAHE
SEYCHELLES

AS TRASTA KOMERCBANKA
9 MIESNIEKU STREET
LV RIGA LATVIA 1050

00000544702991
RAIFFEISEN ZENTRALBANK
OESTERREICH AG

AM STADTPARK 9

1030 VIENNAAUSTRIA

VIDACHA ZAIMA PO DOGOVORU B/N OT 27
/06/2008 NA FINANSIROVANIE
POGASHENTYA PROCENTOV PO ZAIMU

00000400951983

SLAVINVESTBANK

62 BLD 1 PROPESKT MIRA

MOSCOW 129110 RUSSIAN FEDERATION

£40807840200000200001
SWAIMRIVER HOLDINGS LIMITED
AKROPOIEOS, 8, MABELLA COURT, P.C,
1300, NICOSIA, CYPRUS

Page 53 of 109
Case 1:13-mc-00001-P1 Document 3-2

Copy of SWIFT Instructions:

Type: SWIFT Directian; R

Filed 01/02/13 Page 54 of 109

TRN: 175710018435

 

Ar arit
“PN

tb rr ior
Fed 20
Sn "ype
ISN

fens BT

900,000.807U5D
L7SFIOO1B1IS.
R
ASW84420 020708
o103
2359.26
RABAAT WY
(1 BDL HASYS IBRXKKKCH IF LEST
C2 0103163Z20G0 PO7RIBRATWIAXKAG 1817325976080 7U21092N)
(2 (108 ASWe4470/07070FRS)
(a
20, ASY89420/020708
23B CREB
32n 0907HIVSDADDNRO
3tB USNAUGNGR,
50K /LY67KBRBIL11712353008
CITY VENTURES LINATED
306 VICTORIA HOVSE, VICTORIA, NAHE
SEYCHELLES
2h KBRBIV2X
438 /B/ 641707991
STR TrnSHwAL
5S / 1980264 0200NOO2NGTOL
SWATNRIVER HOLDINGS LING TFB
RAKROPOIROS 6&, MABELLA COwRT, PC
12300, NICOSIA, CYPRUS
7a VENRCHA SREMR PO DNGOVORU B/N OT 277
£06/2009 “A FYNANSTROVANTE POGRSHEN
TY¥A PROC RLLOV PO AREA
TAA OUR
,
(5 OMC 957RO0RE)
(CHK 9686C2AR2D29))
MSG TRRCL
080702 163270 BCV P&M SWIFT VIR WEI-rN
080202 103271 ROUTED IN HERVA
080702 103774 DUPL (HL ORI
GROTTO? 162721 DELLY TO SSwrtrn

Copy of outgoing SWIFT Message:

vit SITET
Viaintey Vee 2722008

Fedex

wN ORTSAS
Seger eo CHASSIS

 

Type: SWIFT Direction: § TRN: 175710010435
Ay. unt 399,989.00/USD Tye = SWHT
“PN LTSTIOOLE IS Tre a tuhate  7,°322006
te utr
*. O ATS710016436 fod t
Se vpe 1103
ISN 376280. GON 621997
wane OT CHASUSa3 xe ver Bll ITASRUMM
CL ROLCHASUS 39D 19 11576780)
C2 RAO ETAGRUULOOKEN )
CT CLL9 STPD>
a
20 1757100184035
233 CREED
¥?R = 8070 395N399939
33D «WSRaDoNGO
SOK fSLUGIRBRBALDIZ12355004
CIFY VRXTVRFS LUMETED
306 VXCTORIA HOUSE VICTORIA WANK
SEYCHELLES
G2R LEEBLY?X
a9 £10807640200000700001
SWACNALYER HULDINGS LLMOTED
\ AKROPOIEDS, 6, MABRLLR COURT, PC
ta

- 1300, NICOSXA, CYPRUS

20 «=WIDACHA ZREMA PO pOCOVORU B/N OT 27
#0642006 NA FINANSIROVANIB
POURSHBNTYA PROCINTOY PG EATLV

TER BEN

ik YSDII Be

12 | SINS /RaBRATOW

¢/ /BOOK/ 175710018495

>
MSG TRRCE
CGO10? 200449 RLV KRM RLFPOWE S1@ 527008
080702 206565@ SENT TO WOT FN

080702 2057 RACK BY SWEFT

080702 211109 RCW RESP FEM WEX-EN
Case 1:13-mc-00001-P1 Document 3-2

Filed 01/02/13

Copy of Transaction Record:

Transaction Details for TRN: 3354900 185js

Region: US

 

Instruction Date:
Payment Date:

7/3/2008
7/3/2008

Transaction Amount: $750,000.00

Transaction Type:
Customer Swift ID:
Debit Fin Entity:
Credit Fin Entity:
Credit Reference:
Debit Reference:
Sender's ID: .
Bene Flag:

Order Party:

Order Bank:

Debit Party:

Details of Payment:

Credit Party:

Account Party:

BT

ITASRUMM

O01

o1

SWF OF 08/07/03
ASW91639/030708
SWF/RZBAATW W

N

/LVO7KBRB1111213355001

CITY VENTURES LIMITED

306 VICTORIA HOUSE VICTORIA MAHE
SEYCHELLES

AS TRASTA KOMERCBANKA
9 MIESNIEKU STREET
L¥V RIGA LATVIA 1050

00000544702991
RAIFFEISEN ZENTRALBANK
OESTERREICH AG

AM STADTPARK 9

1030 VIENNAAUSTRIA

OPLATA PO AGENTSKOMY DOGOVORY N24
{12/7 OT 21/12/07 ZA MARKETINGOVOE
ISSLEDOVANIE RINKA NEDVIZHIMOSTI ¥
EVROPE I SNG,

00000400951983

SLAVINVESTBANK

62 BLD 1 PROPESKT MIRA

MOSCOW 129110 RUSSIAN FEDERATION

/40702840300009001484

O00 ATLANT

109443.G,.MOSKVA, UL. UNIH LENINCEY,
0.83, KORP.4

Page 55 of 109
Case 1:13-mc-00001-P1

Copy of incoming SWIFT instructions:

Document 3-2 Filed 01/02/13 Page 56 of 109

 

Type: SWIFT

Direction: R TRN:i 835490018535

 

Ao ont 750,000.00,USD
“aN 698354900185135
Peon R
bee BOWO5b39,090 103
yer “ye O163
3 250792
Sence BY. RZBAATWW
(1 FOICWRGUS VAIOKSE 539335495

Tepe SWIFT
Tras wonvate 7/3/2008

real J

“SN 983549
Pavever BIC CHASUS33

(2 0103100803 07 03RZBRRTUMNXALE 7B 3750792080 18904 08N)

(3 CIDE ASHS 1649/0730 FORA) >

ai
790 KSO91639/030708
77E CRED

32h HBO 7THOIVSDIS0000

338 4vsn7Ts0000

SOK f/LVO?PKBRDALL1229356001
CII VENTURES LIXITED

$06 VICTORIA BUSH, VICTIREA AHT

STYUABLLES
S2R KEBBLY2X

53m sDs/O44 162994

57h ITASRUDOE

59 «= HO 702840 300009001d Es
OUD ATLANT

TENT 109449 G MOSKYA, UL UNTE LONINTRY

D Ot KORP 4

10 OPLATA PG AGENTSKGHY DDGOVORY N21/1
2/7 OT 21/12/87 ZA MARKETINGCDVOR IS
SLEDOVANIE RINKA NEBVIZHIMOSTY V EY

ROPE I SNG
7A OUR

~) /

(5 (HAL ¢ 69BBACTy
CHK WPGORER 154H19>

MOG TRACE

OGN703 040816 RCV FRM SWEET VI WEI FN

0€0703 640816 ROVTED IN KERR
580703 040616 HUPL CHK ORL

O80703 040816 DELIV TO SSWEGED

Copy of outgoing SWIFT Message:

 

Direction: & TAN: 835490016535

 

Type: SWIFT
fie 2.49,989.00/USD Lee — SWIET
Te 8455490018535 Tr nga tion bate = 773/7008
Deectu = §&
Feig2* 835490018535 Field 21
Sut Tepé F183
a. 392258 OSN 928161

Sender Si. CHASUS33

CL FOLCHASUSS 314KN1913392266)

(2 ILO TASER}
<3 (119 STP))

a
74 BI5EIOG 1855
732 CRED

F27R O80 20 UST EDO9,

33B USD 200g,

OOK JUPOMBBRLILE2 298500!
CLTY WENTVEFS LEMITED

306 VILTORIR HOUSE VICTORTA MAKE

SEYUHELLFS

SZR KBRBLU7X

$9 £40702640 300009001484
900 ATLANT

Re ever BIC | ETASRUMM

1094143 G MOSKVA, UL UNIH LENINCEV

“ex Dea KORP 4

70 OPLATA PO AGENTSKORY DOGOVORY N21
f12F 7 OT 24/1207 ZA LAREETINGOVOR
ASSLEBOVANIE RINKA KEDVIZHDIOSTE V

EVROPE I SNG
TAA BEN
VIP YSsOts 08
72 AANA /RERAATINE
22 FBONK/ 975 £900 1055S
3
MGG TRACK

080703 040902 ROY FRM RGFIGWE, SPQ 551944

060707 040901 SENT TD WRL-EN
660703 G409 RCK BY SWIFT

N@OT0% O4O9EE RCV RESP PERM UBI-EN
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 57 of 109.
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 58 of 109

£L6S$20000Z908002N,

veegnco,

QSLIAIT SALVIDOSSV AZYG,
GALIAIT SALVIDOSSV ABN,
LOOLvEZLZLLLLGYaEMsbAT.

VIALVT OSOL AT VOTE,

6 V1al NYFINSSIN.
VOANVEOYAWOW VLSVUL
VYANVEDYSNOM VLSVYL,
XZcA TEE».

XcEyaNsoz-xXuzwNav,

"AN

MYOA MAN MYOA MSN,

(OV NV YSNGSSYC:ATaSWYOS),

OT1 SSILIMWNDAS LYOMNISTY YANGS3N,
OTT SSILNDAS LYHOMNIF TY YANGS3NG,
O€sON.

“NUL
LNNODIV OULSON MAN-MNVE Vidiosr.

*INNN NSS diHD

:ON GVIAI G34

ebS08002 GV GALINIM SALVIDOSSV

AadYG GNV MNV4 VLE NSSML3A9 LNAWSAYOV NO LNIWd. -OJNI ING OL SINO

‘JING

: MNVE ING

‘daYuGALV1ay

“Wa WYSLNI

‘Ligaydd
‘LG

*AQV

: eweN 90y

» YOLVNSIWO

. ANVe YAGYO

» > (ag
06209007 IAVSZ68, : JAY GNAS

bS00S0O NVLSHWVZVH ALVITIV,
SYSMOL TIVAVS LS AOMAESVCIOHZ 26,
LNNODDV OYULSON MIN-MNVGE VLE Os,
LNNODOV OYLSON MAN-MNVE VLE OS,

MINSXHZMZMEV, +==YAGNAS

bS00S0 NVLSHNVZV™M ALVINTV,

SYSMOL TIWINVS LS AOWAESVOTIOHZ 26,

LNNODSDV OYLSON MAN-MNVE VLE Os.

LNNODDV OULSON MAN-MNVE VLE OST,
9¢SSSZOOON. -LiGaGd
go-uNnfr-02 *ALVOA
asn 00°000‘000'es$ -LINV
9’SSSLOOON. : ON JuNOSOY

SIND, -OYS

 

CLOC/97/7TT ELVA LYOdAY

SINVa CaYaALAVHO CAVGNV.LS

LYOdTaA LAGLNO SHH ATLL LYOdA
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 59 of 109

ZETECONOPZSOBONEN.

GSLIAIT SALVIDOSSV AZNG,
QALIAT] SALVIDOSSV ABN.
LOOLP62L2LLLLGNaH8LAT,.

AIVORL

V1aI NMEINSAIN 6,
VANVEOYANOY VLSVUL,
VUNVEOYANOM VLSVUL.
XcA19yNe»y,

XtGNaWXAZwav,

ANVIWYAS-LYNAMNVYS b0E09-d.
SO' bee YS/Zaw/ld SM,

‘D'V MNVE YANaSsaNd,

‘O'V INV YANCsaNd,
Z8rPZLLOOON,

“NY
LNNODSV ONLSON MAN-MNVSE VLaosr,

“INN NSS dIHD

-ON GOVINT G34

GSLIAI SALVISOSSY

AawYd ONV MNVE VLENASMLAa LNSWASYOV NO LNId, -O4NI INE OL SISO

“JING

* MNVd ANG

*dayCaLV 144

-4d WYALNI

*LIGAYD
‘Ld

“AQV

: OWEN 99Y

» HOLVNOIO

. ANVd YAdHO

. > lad
O6z090PZEISVZLE0, - JAY ONAS

bS00S0 NVLSHWVZVH ALVIATY,
SYAMOL IVAVS LS AOMAESVOTOHZ 26,
LNNODSIV OULSON MAN-YNVSE VLE Osr,
LNNOIIV OULSON MAN-MNVE VLE OST,

MINSXMZMZMEV. -WSONAS

bS00S0 NVLSHMVZV™ ALVINTV,

SYAMOL IVINVS LS AOMAESVCIOHZ 26.

LNNODIOV OLSON MAN-MNVSE VLE OST.

LNNODSIV ONLSON MAN-MNVSE VLE OSS,
SPSSSZOOON. “Ligad
80-UNnt-P7 ‘ALVOA
asn 00°000‘000‘0S$ :LINV
~9PSSSZO00N, : ON JuUNODDY

SID, -9YS

 

TLOY97/T “ALVA LYOdTY

SINVa GaYALYVHD TAVGNVIS

LaXOdTa LNdLNO SME ATLL LHOdTa
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 60 of 109

b99ZL000E00L8002N,

GALIAIT SALVIDOSSV AauG,
GALIATT SALVIDOSSV AauG.
LOOLY6ZLZLLL LEY aMsbAt,

ATWO.

V1al NY3INSIIW 6,
VYNVEOYAINOY VLSVUL.
VYNVEOYAWOY VLSVEL,
XZATIYEM,

ANVWYaS-LYNJAWANVaS +0€09-d,
SO b/c uS/Zawila SM,
‘O'V MNVd YANGS3uG,
‘O'V MNVa YaNasaud.

Z8PyPZLO00N,

“Na
LNNODDV OLSON MAN-MNVE VLEIOSS,

“WINN NSS dIHD

‘ON GVA! aad

-b808002 QV GALIAIN SALVIDOSS*

Aad ONV MNVSE VLE NSSMLAd LNSAWSSYoV NO LNIWd, ‘OANI ANG OL SIYO

“aNd

: MNVG ANG

-daYdaLV1ay

“Wd WeaLNi

-LIGSYS
"Ld

‘“AQV

: OWEN 29y

1» *YOLVNSWO

.-MNVGE YadYO

. * 149g
O6Z00LEORIAVPZ6O, - Jay GNAS

bS00S0 NVLSHNVZVH ALVA IV,
SYAMOL TVWAVS LS AOWSESSVOTOHZ 26,
LNNODDV OULSON MAN-YNVE VLE OSS.
LNNODOV OULSON MAN-MNVE VLE OSS,

MWSXYZNZMEV. = -YAQNAS

-$00S0 NVLSHYVZVH ALVIN,
SY3MOL IVNVS LS AOMSESVOTOHZ 26,
LNNODOV OULSON MAN-MNVE VLE OSS,
LNNOSDOV OULSON MAN-MNVSE VLE OSS,
9¢SSSZOOON. -LIGadq
80-90-£ “ALVGA
Gsn oo'ors‘ere‘L L$ = LINV
9PSSSZOOON. - ON JuNODDY

SWS. ‘DUS

 

TLO7/9VT PALVG LAOdTa

ANVE GIVI LAVHD CUVGNV.LS

LYOdaa LAdLAO SHE “ATLL LYOdTa
Oe, Case 1:13-mc-00001-P1 | Document 3-2 Filed 01/02/13 Page 61 of 109
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 62 of 109

Case 1

9 jO Tazed

 

 

 

 

 

 

 

 

SWO, ANN, |80-PO-E T99ZTOOOEOOTS800ZN, LNNOD3DV OULSON MANNY VLE OST, 97SSSZ000N, 80-AON-OE, 80-PO-T, 800TYC,| SPOPG6ET,| SALVIDOSSV AJHG,|SZPSPT E8L9T

SWD9, ANN, |80-Unf-7Z CECECOOOPZ9N800ZN, LINNODDV OYLSON M3SN-ANVSE VLE OSI, SvSSS/O00N, 80-IN[-TE, 80-UN[-T, 8094d,} SP9PGET,| SAILVIDOSSV AZHC,|PZLPSPrT E8L9T

SWO, ANA, 80-"UNl-0Z LL6SZOOCOZIOSONZN, LNNODDV OYLSON M3AN-ANVS VLE OST, SvSSSZOCON, 80-1N(-TE, 80-UN[-T, 8094d,| SP9PGET,| SAILVIDOSSV ASYG,|PZvSrT E8L9T
WaysAs aounos] adAj uoipesues eaunos} ajyeq uoNDesuesL JaquInN NUL SBWEN JUNODy| JequINN juNoIDy] |yeq Youees QNa| 9}eq Yosees ujseqg] slweN dnolg yeas] G| UOSslag ejeq yoseas] gi Houvas! aissa00ud

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 63 of 109

9 407 aded

 

 

 

 

 

 

 

 

 

 

 

 

 

 

amsn, TT808002 dV GSUIWN SALVIDOSSV AJ¥O ONY ANVd VLE NJ3ML3d LNAWSSY¥SV NO LNWd, | OGZOOTEOSISVPZ60,| G3LIWIN SALVIDOSSV AQYG, | OO'OPS‘6VETI $ asn, A ‘
gmsn, G3 LINN SALVIDOSSV AIO ONY INV VLENISM1I9d LNAWSIYOV NO LNWd, XTOMPAXAZNAV,| OGZO9OPTAIFVeZ60,| ASLIWIT SALVIDOSSV AUG, 1} 00°000‘000‘0S $ asn, A 1
amsn, ZTS0800Z AV G3LIWN SSLVIDOSSV AJYC ONY YNVE VLE NISMLIP LNIWSIYOV NO LNWd,| XZ7HYaxSOZEXAZGV,| 06709007 9lSVS468,; GALIWIT SALVIDOSSV A3HG, ,| 00°000‘000'E8 -$ asn, A 1
uoljezUuesio 99S Dualajay soueWIWay aouaajay pazejay| (NUL) Jey S,280NgS Auepiyauag! s0}eUIsUO yunowy | Aduaun5) Bejjyyueg oy yuUeg] adAl esessay

 

 

 

 

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 64 of 109

9 Jo ¢ aBeg

 

 

 

 

 

 

 

 

YWSODIZNAY, Dil TSOOSO NVISHIVZVA ALVIIV,|  SYSMOLIVAIVS 1S AONSaSVCIOHZ 26, INNODDIV ONLSON M3N2INV@ VLEOST,)  LNNODDV ONLSON M3N-ANVE VLE ST, S7SSSZO00N, ,
MWSXIZIZNAV, Dis} TSOOSO NVISHIVZVA ALVWTV,|  SYSMOLIVAIVS 15 AONaESVCIOHZ 26, LNNOODV OWLSON M3N-INV@ VLE 9SI,]  LNNODDV OULSON MAN>INVE VLE 2ST, SPSSSZOOON, .
WWSXIZIZIAV, Dhl TSOOSONVISHYVZVA ALVIIV,|  SYAMOLIVWVS 1S AONS8SVO1OHZ26,|  LNMODDV OYISON M3N-INVE LEIS,  LNNODDV ONLSON M3N>INVS VL 2ST, 9VSSSZOOON,|  7rZ90E0,
JaqUuNN junoooy yueg BUIGNS| _apoD Anuno? Aued ugeq € aul ssauppy Aqeg uged Z aur] ssaappy Aled uqaq Tau ssezppy Aved Wq20 Aulegigqeq)  saquwinn junossy Aueg ugeq) ON NSS dlHD

 

 

 

 

 

 

 

 

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 65 of 109

9 jo pased

 

 

 

 

 

 

 

 

*O'W INVd YANdS34uG, c8rvZTOOON, 2,{ TSOOSONVLSHAVZ¥ ALVA, SYIMOLIVWIVS LS AONAESVCIOHZ 26, AINNODOV OU.LSON MANNY VL OST, ANNODDV OULSON MANNY VLE Sh,

“O’'W INVE YANCS3uG, c8rvZTOOON, Z,| TS00SO NV.LSHIVZVA ALVATV, SYIMOLIVAIVS LS AONS8SVGIOHZ 26, ANNOQDDV OULSON MAN-ANVE VLE OSS, ANNOIDDV OULSON M3N-AINVE VLE Sf,

O71 SAILIYNDAS LHOMNISTA YSNGSING, O€8BON, 24,|  TS00SO NV.LSHIVZVy ALVANTV, SYAMOLIVWVS LS AOWAESVOIOHZ 26, LNNODDV OULSON MAN-ANVG VLE Sh, LNNOIDV OULSON MANINVE VLE OST,
Ayeg Wpasd) — Jaquinn junoaoy Ayed ypasp| — apo Aujuno> yueg BUIGNS € ssoJppy yueg BUIGNaS Z ssaippy yUeg BUIGNAS T ssoJppy yueg SUIGNaS yueg SuigNas

 

 

 

 

 

 

 

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 66 of 109

9 jo S aBeq

 

 

 

 

 

 

 

 

VITAENXSINSSIA 6, WINVEDYSWO VISVYL) = WAINVEDYSaWOX VEiSVYL, XZATIYS, | ANWWYd9-LYNAINVYd TOE0S-G, 50'T2/z'u9/Zan/id Sy, ‘O’V ANVd YANGS3yqd,
V131 NYSINSSIA 6, VOANVEDYAWOX VISVYL| WINVEDYSIWOX VISVUL, XZA19YO, 1} ANWAYI9D-LYNSINVYS TOEO9-d, DO'T2/7'u9/ZaN/id So, “O’'V INV YANGS3YC,
6 W131 NAZINSIIN, VANVEDYAANON VISVYL:| WINVEDYSWON VISVYLL, XZAISYO, ‘AN, MYOA MAN YOA MAN, (DV INV YANQSAYG:ATYSWYOS), O71 SSLLIBNDAS LYHOMNISTA YANGS3YG,
Z ssaippy yueg Juepysueg| T ssaippy yueg Auepijauag yueg Auepljaueg Jaqunn junosoy yueg Auepyjeueg! = ssosppy Aeg HpelD € ssaippy Ayed Upaip Z ssaippy Aueg upalD T ssaippy Aueg ypai5

 

 

 

 

 

 

 

 

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 67 of 109

9 40 9 Bed

 

 

 

 

 

 

 

 

 

 

 

QaLiWN SaLVDOSSY ASYd, TOOTVEZT CTT TT ay anetaAt, A ALVOSIY,
G3LIANN SALVIDOSSV AZYC, TOOTVECTCTTTITAYaN8TAl, A ALVOIY,
G3ALIWA SALVIDOSSYV AIYC, TOOTV6ECTZITITEYansTAl, Al VIALW1 OSOT Al VOIX,

T ssaippy Aueinueuag] = Jaquinn unoo2y Auepyeuag]  apoo Aqunoz yueg Alelpyeueg| € Ssauppy yUeg Alelnijauag

 

 
Eee _ Case 4:13-mc-00001-P1 Document 3-2 Filed 01/02/13 © Page 68 of 109 -

Wee ES
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 69 of 109

Rebecca J. Nelson 388 Greenwich Street Tel 212 816 4416
Direcior 17th Floor Fax 646 6881945
Associate General Counsel New York, NY 10013 rebecca j.nelson@citi.com

 

September 1, 2011

Hallie B. Levin, Esq.

Friedman Kaplan Seiler & Adelman LLP
7 Times Square

New York, NY 10036

Re: In Re Application of Jeremy Outen, John Milson and David Standish, as Court-
Appointed Receivers, For Judicial Assistance Pursuant to 28 U.S.C. 1782
Civil Action No. 1:11-mc-00291-P1

Dear Ms. Levin:

Kindly allow this letter to serve as the initial response to the subpoena, dated August 22, 2011,
served on non-party Citibank, N.A. in the above matter.

At this time we object to the subpoena to the extent it imposes obligations beyond those imposed
by the Civil Practice Law and Rules, all other applicable local rules and the case law interpreting each. In
addition, we reserve our right to assert any and all other applicable objections, both general and specific.
Any failure to object to the subpoenas on a particular ground shall not be construed as a waiver of our
right to object on that ground or any additional ground at any time.

Furthermore, the production of any documents, at any time, in response to the subpoena is
without waiver of any and all privileges, protections or immunities. In the event that material subject to
the attorney-client privilege, work product protection or any other privilege or immunity is inadvertently
produced, such inadvertent production shall not be deemed to constitute a waiver of such privilege,
protection or immunity.

Subject to the above, please be advised that we are currently conducting a search for responsive

documents and will produce any such documents shortly under separate cover. Please do not hesitate to
contact me should you wish to discuss any aspect of this response. Thank you.

Very truly yours,

(ISO.
Rebecca J. Nelson

Office of the General Counsel

   
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 70 of 109 ©
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 71 of 109

 

Rebecca J. Nelson 388 Greenwich Street Tel 212 816 4416

Director 17th Floor Fax 646 6881945

Associate General Counsel New York, NY 10013 tebecca.j.nelson@citi.com
September 7, 2011

Hallie B. Levin, Esq.

Friedman Kaplan Seiler & Adelman LLP
7 Times Square

New York, NY 10036

Re: In Re Application of Jeremy Outen, John Milson and David Standish, as Court-
Appointed Receivers, For Judicial Assistance Pursuant to 28 U.S.C. 1782
Civil Action No. 1:11-me-00291-P1

Dear Ms. Levin:

Kindly allow this letter to serve as a further response to the subpoena, dated August 22, 2011,
served on non-party Citibank, N.A. in the above matter.

Please be advised that following a diligent search, we were unable to locate any documents
responsive to the above referenced subpoena.

As before, please do not hesitate to contact me should you wish to discuss any aspect of this
response. Thank you.

Very truly yours,

Lies

ecca J. Nelson
Office of the General Counsel
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 72 of 109

EXHIBIT F
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 73 of 109

 

  

AaAipjasuewy 41e4sy | 00°000‘000‘0Z S4d yueqoing | JapsO 34} spisinO pT] Sedn}UsA Cpald TT-Aew-€0

 

yueg onmeysy rqegq nqy jue Areoystsg (T

“dIYSISATON9Y OY} 0} POYUI] St pue soeyd yoo}

Ayjenjoe uoyovsuey oy] yey) o}eNsuoUlop 0} (q XOUUY Ul yueg SUIyIWOI oY} SURO YOM) yueg Areloyousg [eUIsII0 oy Aq NqIYxo
STUY} Ul Woy} Ids osTe savy OMA ‘E XOUUY UI post] suotjoesuely oyloodg au} YIM puodsai09 suoTORsULI] osoyL, ‘dIysIoAtoooy oy}

JO SJOSSP 9[QLIOAODOI OIB SUOTIORSULI] SSO] SASTIOG OM YOIvasal Joye pue ‘Apred pin] spy euog B Se poyfUopt oq JoUULS sUOKORSUR]
9S9Y]] Jo AIBIOYSUAQ SY], ‘ON[VA UI UOT|[IW [g$ JoOAO suOTOVSUeT] ZUIMOYS oseqeiep JUoMOIe]s YURg MO WO s}diooxo ore BUIMOTIO} OU,

A HQUXa
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 74 of 109

 

 

 

 

 

 

 

 

 

 

 

 

 

 

py] sjUsUUYSBAU] eJsaues | OL'0L6'666‘E yueg Dye] Ue € | Peay] s}USsLUSBAU| £0-0-70
qnjo}saau|

IOYLSONIGIOHLSIANI 971 | OO'T8T‘S72‘T SV jue suinyyeq de pay] sasiudsayuy £O-[N[-TT
UMOPd}e2}S

pW elsein3 dsr | vO'000‘00S'E yueg Pe] UPA dé payunty L0-40'V-02
A8ojouyral sile|4

pW e!seiny DSF | v2’ 76700807 yueg DIE] ULE ge Poy] £0-434-20
A8ojouypa| siel4

pay] 211/4 1011S OOO | 00°0SZ‘9E8‘8 SV yueg suInyiqyeg ge poywry £O-Uef-OF
SBUIP[OH Jxaupeoy

DW eBIseing DST | 6E'S7S‘007'L yueg pye7 ueW ae payuny £0-Uef-9T
A8ojouysal siel4

IOY¥LSONIGTOHLS3ANI 971 | 00°000‘000'S sv jue suinylyeq ge pay] sasiudsajuy 90-990-£2
UMOPd}21S

pewut] 31/4 1041$ OOO | 00°000‘0St'ST SV {ue suINyiye dé poyuery 90-990-02
SBUIPJOH xaupeoYy

VI elseiny DST | SE‘OvVS‘O0T‘SG yueg Pyle] Ue dge€ pour] 90-9990-S0
A8ojouyreL sulefs

pW elseing DSf | €T'8Zv‘000'SZ yueg |e] Ue ge pay] 90-AON-£7
A8ojouyoal sllej4

pW elseang DSF | T8°S8tv‘000'TZ yueg Ife] Ue dé poyuly 90-AON-TO
ASojouyraL silej4

vA BIsesng DSP | 77°LTS‘OOS‘T yueg Hye] Ue dé porwr] 90-90-£2
ASojouyra_ sulel4

VW B!sein3 Sf | 66°666'666'6 yueg pe] Ue ge paywiry 90-90-70

 

 

 

 

 

ASojouyreL siuiel4

 

  

 

OTT ed LAV Ue” Alefoyouogd (Z

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 75 of 109

 

 

 

 

0002 YVD-OYLNAD DSfD | 00°000‘Tér‘Z youerg snadAD ge pow] OT-Uef-ZZ
‘yueqzeAaswoid 9SfO SUIPJOH Jsaquiods

2801dA013S STD | 00'000‘ZOT‘ET youeig snidAd ae pow] 60-INf-vZ
‘queazeAaswiojd DSfO sasiidiajuq seaApuog

du] SUO!JONPOsg YOYUseg | OO'O00‘OV0'I "v's (Bunoquwiaxny) ae yres 80-8ny-6T

 

 

4eg ONI

 

 

BUIP|OH |/eyuesg

 

 

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 76 of 109

 

 

 

 

 

 

 

 

 

paul] dnoiy yueljAig | 96°90S‘Z00'7 SNUdAD JO INVA ae pn TI-G24-8T
SJUSLWISSAU] WILOJE7
uolyesOduo05 ayawny} | 00°000‘000'S youesg snudAD de paywr] soqaisD OT-sdy-2Z
‘yueqzeAaswo.d DSO
uoljesodsoD 93387 | 00'000‘000'S youeig snadAz ae paywiy] soqauaD OT-Ady-60
‘yueqzeAaswodld STO

 

 

 

powury Aueduno7) oTqng snidAZ jo yurg -yoeg Ateprjouag (¢
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 77 of 109

Case 1

 

pauwul] dnos9 sBuipjoy 4ae|> | 00'000‘9v0‘Z

youeig snadA
‘yueqzeAnswuoid 2S[O

  
   

JE payuwry SO-AON-TO
Sulpeay ayejesey

 

Td Woeg skepreg -yjaeg Amwroyous g (F
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 78 of 109

Case 1

 

aL SaSTddd3LN3 Vids

Be

dX4 | TS°vST‘TOO'T

yueg DIE] Ue

VE PSHUWE] ISOAU] Wd 60-924-€2

 

 

VS (essing) sequed dNq weg Areloyousg (¢
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 79 of 109

Case 1

 

 

squdWsaAu] pue SAIW4NIVS WLAN. | 00'000‘0SZ'‘T

SV uUeg suNyyyeg

de pay] apesydas 60-3ny-OT

 

yueg snnod Say yueg Alepyouog (9
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 80 of 109

Case 1

 

(d24) JeuolzeusayU] XBIV¥ | 00°000‘000‘ST:

Dv (zlamyss) 191

ge

py Auedwod Wy 90-190-8T

 

 

yurg sojenug -yueg Areyousg (7
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 81 of 109

Case 1

 

 

 

 

 

pr] saiunjua, ope.) | 78°686‘000‘T yueg nye] uley| d€ paywry OT-99q-€Z
SBUIP|OH |23SO
nosojoysiuyseded soissoay | /6°€ES‘OSEp snidA9 Jo yueg VE pay] ezesoy 80-das-z7z

 

 

 

 

 

Oda yUeqomy -jueg Awoyousg (§

 
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 82 of 109

Case 1

 

paywr Jaquiy | 00°000‘00r‘2Z

pyey useyy

  

4apJO 24} ap!sino paywiy TT-Un[-60
sainjua, UOWISag

 

(eruezue lL) AAA ue, Areroyousg (6
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 83 of 109

 

pawwiry uopjays

00°000‘766‘T

Oda yuUeqoing

ac

dio> Suipes| apuaq

TT-4dv-0Z

 

 

panty uopjays

 

Tv'996‘066'T

 

snsdAz Jo yueg

 

ae

 

pH saowuas edy

 

 

TT-ady-8T

 

ye” oMsTSH joeg Aieroyousg (OT

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 84 of 109

 

 

 

 

p37 saolAsas Bul3znquysig psoIuoD | 00'000‘8/T‘T youerg snsdA5 de GALI SO8sus5D 60-999-€Z
‘yueqzeAaswioug 3SfO
Py] saoivas sulnqiisiq pio2u09 | 00'000‘00r'Z youeig snidAD de G4LIINT SOd3dYSD 60-AON-92
‘yueqzeAnswiold SO
‘W'S JuadeueyW Ouesay | 0O'000‘Z7z‘Z youesg snidA5 de Q3LINN SOg3sy4s5D 60-AON-9T

 

 

‘yueqzeAASWiojd SO

 

 

 

 

 

 

J'1d Wed OUSH eR Aretoyoueg (TT
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 85 of 109

Case 1

 

 

 

 

paywi] swiaysAs JaMod MAN | 00°000‘000'S2 Dy (zlamyas) 191 de py] Auedwod IW4 L0-99C-TZ
pay] suuayshs 4aM0d MAN | 00'000‘000‘ST Dv (zlamyss) 191 ge py] Auedwo) WW £0-38q-20
paytury suiayshs 4aMO0d MAN | 00'000‘000‘0T DV (ztamyas) 197 ge py] Auedwos W4 LO-AON-EZ

 

 

 

 

 

 

 

 

 

"A'N ONT -Ueg Arelorousg (ZT
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 86 of 109

Case 1

 

jeydes uAjawaz 971

00°042‘000'E

INV DINATISH Ge; pawuir] OD B1ouUaleA 80-INf-Sz

 

 

 

jeydes uAjawaz 371

 

00°OL2‘TTZ'T

 

 

 

NV DINATISH de | Pew] oD Bsouajen 80-UN[-ET

   

 

 

 

 

SuTeIy] JO yueY poduy-podxy seg SUL OST yueg ATIoyousg (ET
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 87 of 109

 

 

 

 

 

 

 

 

pay] ssulpjoH eueysit | O€ 6T6‘Z80'T snidAp Jo yueg ae pPy1| OT+eW-60
solysnpul awe jor

pay] Janoputy | 00'000‘00Z‘T yueg pe] ue, ae pay] 80-das-€0
jeuoleusa}u wasuag

pay] Janopury | 00°000‘000'7 yueg mley uel ae pay] 80-d8s-TO
jeuoijeusayul sasuag

pay] saAopwy | 00°000‘000‘r yueg pyle] Upely de payuy 80-8ny-8z
jeuoneusaju| sasuag

paw] Jaaoputry | 00°000‘000‘r yueg mle] ue ge poywyy g0-3ny-972
jeuoneuajy sa8seq

pay] Janopury | 00°000‘000‘r yueg mle] ujey| ae poyuwuy 80-8nYy-7Z
jeuoijeusajul Jasuag

pay] saaopury | 00°000‘000‘7 yueg me] ue ae powuny 80-8NYy-TZ

 

 

 

 

 

jeuoneusayuy sassag

 

  

 

yueg Tey] upeyy youd Arwoyousg (pT

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 88 of 109

 

 

 

 

 

 

 

 

 

 

 

 

‘yueqzeAaswold 9SfO

 

 

 

Sulpesy ayejesea

   

 

pay] ysaauj aduell|y | 00°000‘000‘E youesg snudAp DE powuyy S0-990-€T
‘yueqzeAaswoid JSfO Sulpesj ayeyeses

Py] saoias ulaneizy | 00°000‘00S'S youeig snudAd JE paywy GO-AON-Z0
‘yueqzeAaswoid 3SfO Suipesjy ayeyeses

pr] saoimas ulaAessy | 00'000'9ZL‘T youeig snadAp DE poy] S0-190-SZ
‘yueqzeAaswiojd 3SfO suipesy ayeyeses

py] sadiAsas ulaaessy | OO'000'TEZ‘Z youeig snudAy DE paywry S0-90-SZ
‘yueqzeAaswioid 3SfO Sulpesy ayeyesed

Py sadiMas ulaaessy | 00°000‘E66‘Z youerg snidAD dE paywiy S0-290-SZ
‘yueqzeAaswiojd DSTO Sulpesy ayeyesea

PY] sadimas ulaaesBy | 00°000‘00Z‘E youeig snidA dE poy) G0-das-6T
‘yueqzeAaswojd ISTO Sulpesy ayejesez

Py] sediuas Ulanessy | 00'00S‘ZT0'T youerg snsdAD JE paywy g0-das-90
‘yueqzeAnswo.sd DSTO Suipesj ayeyeses

py 4aajna Aatd | 00°000‘0S97'T youeig snidAd DE pau] SO-Ady-8Z

 

Yourig sniday “yueqzeAAsmolg OSfO -jueg Aleloyousg (CT

 
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 89 of 109

Case 1

 

IEM-XEW DDOdS AOL | 00°000‘000‘T

youerg snadA>
‘yueqzeAasuiold STO

 

€ pawn suey | 60-AeW-6Z

 

(foureny)) we VLA OSfd ue, Areloryotog (97
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 90 of 109

Case 1

 

paytury soiysigo7 Aeuxew! | Z7'7ZT‘900°E

 

youesg snudA> JE pawwy 90-190-0Z
‘yueqzeAaswioid ISTO Sulpesl ayeyesez

  
   

 

poyuury (Suoy suo) jue” qn g joerg ATeyousg (ZT
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 91 of 109

Case 1

 

 

 

 

 

 

 

  
   

 

d11 SyaxseW UBsIe] | OO TO? tr7S‘9 youeig snudAD DE pewuly 80-UNf-90
‘yueqzeAnswojd 2SfO Sutpesy ayeyeses

DT1 uesequeg | 00°800‘68r‘8 youeig snidA JE penwiy Go-das-80
‘yueqzeAnswoidg STO Sulpesl ayejesep

 

 

 

eyoegd Nunjory «jue Areroyouog (81
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 92 of 109

Case 1

 

 

 

 

P37 “09 xajAL | £7°700‘000'T 9SsINS UPaAd VE peru] £0-das-/z
(SeastaAQ) UBWON

P31 “0D XAIAL | 7Z'700‘00L'‘T BSSINS Wpasd VE peyuyy 20-3ny-90
(seassaAQ) UDWION

P31 “0D Xa{AL | TL700‘000‘2 assIN§ Wpe.D VE powury £0-19[-60
(seassaAQ) UBUON

 

 

 

 

 

  

 

 

 

“W'S (Gssing) SURE” eA OS jug AmwioySusg (61
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 93 of 109

 

(324)

JUdWISSAU} JEUOIZEUsSIU} 7B JIND @Ry

00°000‘000‘ST

Ov (zlamyas) 197 de py Auedwo) Id 90-190-8T

 

 

TqeyC nqy “leg poppeyy piepurs yor” Awpyousg (07
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 94 of 109

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘yueqzeAaswiosd 2SfO

 

 

 

paw] e9A14ad | 00°000‘000'T youesg snsdAa a€ payuwy OT-unl-8T
‘yueqzeAaswodd 2SfO SUIPery JO[asuy

pay] yoA1428q | 00°000‘000‘T youeig snidAD VE pay] OT-424-TO
‘yueqzeAaswiOud DSTO SJUDWISIAU] NO}eZ

pay] yALaq | 00°000‘000‘T youesg snidA5 VE poy] 60-99C-ZT
‘yueqzeAaswoid 2SfO SJUSLUSBAU] NOjEZ

paywiy yIAWJad | 00°000‘000'T youesg snsdAd VE paywiy 60-das-v2
‘yueqzeAaswoig 3SfO S]USLWISaAU] NO|eZ

paywiy yeoA148qg | 00'000‘000‘T youesg snidAz VE poywyy 60-8NY-6T
‘yueqzeAaswosd 3SfO SJUSWSaAU| NoOjeZ

p37 edueAN | 00°000‘000‘E (snadA>) ae paywiy 60-4dy-Z0
exUeqIIWOY eyses] SuIpel JSaqjandy

p37 saa|Asas Jaajananig | 00'000‘00Z‘ZT (snidA>) ge paywiy yuawAeg | — 90-AON-SZ
eyueqoriaswoy ejsely Yd ewiawedy

“Duj HW Aemyesd | 6S°S/6‘T ZZ youesg snudAD dE paywyy G0-190-02
‘yueqzeAaswiojd 2SfO sulpesy ayeyese>

“ou} HQ Aemyeld | 00'Sr‘0SS ‘OT ysueig snidA dE paywiy GO-das-22
‘yueqzeAnswiold DSTO Sulpesy ayejese>

“UE HQ Aemijesd | 00°SSS‘6r70'6 youeig snsdAd dE paywry SO-8NY-8T
‘yueqzeAaswoig 2SfO sulpesl ayejesey

uj JuUsWaseueW Xewesg | 00'000‘000‘Z ysueig snidA3 OE payuwry GO-ARIN-ST

sulpesy ayxejese>

 

 

 

  

 

ByULqsIoWlOy eyse1y, «jue Aleroyousg (17
13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 95 of 109

Case 1

 

d77 Bueuly YUOIBL | OO'000'000'T

  
   

youeig snudA
‘qyueqzeAAswoig 3S[O

DE

poyuyy SO-4PIN-TT
suipesy ayeyesey

 

OV SN ue Aretoijauag (ZZ
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 96 of 109

EXHIBIT G
aR eG SS HE DOOUL- PT DotA ee EMG O8702/13 Page 97 Saw! S

Payments - Customer Transfer (MT 103)

How to enter Customer Transfer (MT 103) fields in Alliance Lite screens:

 

 

Standards MT Alliance Lite web interface Comment

 

 

Field ||Field name (and format) Tab Block Field name
tag

 

 

20 Sender's Reference Required || Message Sender's If not entered, then
Identification Ref this field is
automatically set to
a unique value
(TNum). If entered,
the entered value
overrules the TNum.

 

 

13C || Time Indication - | AutoClient only.

 

 

23B || Bank Operation Code - Automatically set to:
23B:CRED - not
displayed. Other
values can be
entered through
AutoClient.

 

 

23E |j Instruction Code Optional || Instructions Processing || Max. 4 processing
Instructions || instructions can be
entered through
GUI. If more than 4
are required, then
use AutoClient.

 

 

 

 

26T || Transaction Type Code - AutoClient only.

 

 

32A || Value Required || Amount & Amountor || By default, a single
Date/Currency/Interbank Dates Interbank Amount field is
Settled Amount Settled shown, and this
Amount Amount field is
(debit) mapped to both
Value Date |} 32A, and 33B. Only
if Sender's or
Receiver's charges
are entered, or
currency of Amount
is changed by the
user to be different
from the currency of
the Sender's
Account, then 2
amount fields are

A ra £. 2. + ra 2 Pa showit’ all trsti victed
Was this information heiptul? Yes No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

https://www2.swift.com/uhbonline/books/public/en_uk/al_2_0 _autoc_inst_user guide... 22/12/2012
se ASE EHC ODOUL- PT DOCS So FANG d2742/13 Page 98 dads FS

 

Standards MT

Alliance Lite web interface

Comment

 

 

Field
tag

Field name (and format)

Tab

Block

Field name

 

 

 

 

 

 

Amount (credit) and
Interbank Settled
Amount (debit)
instead of Amount.

The Interbank
Settled Amount is
calculated from the
entered Instructed
Amount, taking into
account Exchange
Rate and charges,
unless user disables
calculation.
Calculation is as per
Standards MT,
Category 1, MT 103,
Usage Rules for
Amount Related
Fields.

 

 

33B

Currency/Instructed
Amount

Required

Amount &
Dates

Amount or
Instructed
Amount
(credit)

By default, an
Amount field is
shown, and this
Amount field is
mapped to both
32A, arid 33B. Only
if Sender's or
Receiver's charges
are entered, or
currency of Amount
is changed to be
different than
currency of the
Sender's Account,
then show both
Instructed Amount
(credit) and
Interbank Settled
Amount (debit)
instead of Amount.

 

 

36

Exchange Rate

Required

Amount &
Dates

Exchange
Rate

The Exchange Rate
field is only shown if
the currency of
Amount is changed
to be different from
the currency of the
selected Sender's
Account. When
shown, it is
mandatory, unless
user selects "disable
calculation".

 

 

 

 

 

 

 

Was thi

 

 

 

 

¥)
K

e
D

 

 

 

https://www2.swift.com/uhbonline/books/public/en_uk/al 2 0 autoc_inst_user_guide... 22/12/2012

c.
VOSTATS

&
a

 

 

 
installation and User Wulde - La

Case 1:15-mc-O000L-P1 Document 3-2 Filed 01/02/13 Page 99 df#03 °F 8

 

Standards MT

Alliance Lite web interface

Comment

 

 

Field
tag

Field name (and format)

Tab

Block

Field name

 

 

50A

Ordering Customer (BIC
format)

AutoClient only - on
the screen, 50K can
be entered

 

 

50F

Ordering Customer
(structured format)

AutoClient only - on
the screen, 50K can
be entered

 

 

50K

Ordering Customer
(account, name, and
address format)

Optional

Originator

Name
Account/ID
Address 1
Address 2
Address 3
Country

If "Account at
Receiver" checkbox
is ticked in "Sender's
Account to be
debited", then
Originator is auto-
prefilled with owner
of this account, or
left empty. The user
can overrule this.
The account and
owner of this
account are defined
by the Alliance Lite
administrator in
Admin > Setup >
Account > Add or
Modify

 

 

52A

Ordering Institution (BIC
format)

 

 

Optional

Originator's
Bank

Bank Code

This field must only
be entered, if the
sending Alliance Lite
user is sending or
forwarding the MT
103 on behalf of
another institution.

 

 

 

52D

Ordering Institution
(name, and address
format)

Optional

Originator's
Bank

Bank Code
Name
Address 1
Address 2
Address 3
Country

This field only must
be entered, if the
sending Alliance Lite
user is sending or
forwarding the MT
103 on behalf of
another institution.

 

 

53A

Sender's Correspondent
(BIC format)

Optional

Sender's
Correspondent
Bank

Bank Code

Field open for input
if "Account at
Receiver" checkbox
is unticked in
“Sender's Account to
be debited". Bank

 

 

 

 

 

 

 

Was-this

 

 

hformation-helpht

 

 

2? Yes_No

 

 

 

https://www2.swift.com/uhbonline/books/public/en_uk/al_2_0_autoc_inst_user_guide... 22/12/2012

codé type drop-

 

 
Installation ang. seh QUHG SOBEL" DSA SEF Le/13 Page 100 Bede 8

 

Standards MT . Alliance Lite web interface Comment

 

 

Field||Field name (and format)|| Tab Block Field name
tag

 

 

down must be set to
SWIFT. A BIC must
be typed in Bank
Code, or selected
from the BIC
Directory. For known
BICs, their Name,
Address and
Country are
displayed for
convenience.

 

 

 

 

53B || Sender's Correspondent jj Required || Sender's Account If "Account at
(account) Account to be || Number Receiver" checkbox
Debited is ticked in "Sender's

: Account to be
debited", then the
selected Account
Number is put in
field 53B. Note: ifa
branch location
name must also be
specified in 53B,
then AutoClient
must be used.

 

 

53D || Sender's Correspondent |! Optional || Sender's Bank Code || Field by default not
(name, and address Correspondent || Name open for input
format) Bank Address 1 (greyed out). Open
Address 2 }} for input if "Account
Address 3 || at Receiver"
Country checkbox is
unchecked. If the
user selects Other
as Bank Code type,
then the entered
Bank Code
(preceded by a
single slash), Name,
Address, and
Country are put in
53D.

 

 

54A || Receiver's - Optional |] Receiver's Bank Code_ || Field open for input
Correspondent (BIC Correspondent if "Account at
format) Bank Receiver" checkbox
is unticked in
"Sender's Account to
be debited". Bank
code type drop-
down must be set to
SWIFT. A BIC must
be entered in Bank
Was this information helpfu[?_ Yes No || Code, or selected

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

https://www2.swift.com/uhbonline/books/public/en_uk/al_2 0 autoc. inst user guide... 22/12/2012
Installega and User eessod PE" Doct SHEL OWSL/13 Page 101 Breecwt®

 

Standards NIT Alliance Lite web interface Comment

 

 

Field||Field name (and format)! Tab Block Field name
tag

 

from the BIC
Directory. For known
BiCs, their Name,
Address and
Country are
displayed for
convenience.

 

 

 

 

54B || Receiver's - AutoClient only - on
Correspondent the screen, 54A or
(account) 54D can be entered.

 

 

54D || Receiver's Optional || Receiver's Bank Code _ || Field open for input
Correspondent (name, Correspondent |} Name if "Account at

and address) Bank Address 1 Receiver" checkbox
Address 2 is unticked in
Address 3 "Sender's Account to.
Country be debited". If the
user selects Other
as Bank Code type,
then the entered
Bank Code
(preceded by a
single slash), Name,
Address, and
Country are put in
54D.

 

 

 

 

55a || Third Reimbursement - AutoClient only.
Institution

 

 

56A |j Intermediary Institution | Optional || Intermediary Bank Code {| Bank code type drop
(BIC format) Bank -down must be set

, to SWIFT. A BIC
must be entered in
Bank Code, or
selected from the
BIC Directory. For
known BICs, their
Name, Address and
Country are
displayed for
convenience.

 

 

 

 

56C || Intermediary Institution |; Optional || Intermediary Bank Code _ || Bank code type drop
(clearing code format) Bank -down must not be
set to SWIFT or
Other. A clearing
code must be
entered or selected
ORT the CIFECTOFY:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

tan bolo f 19

jo _Ibfn, Pat
TSAO arr TiS ipTra rt

K
P

 

4g

ig
=
Dp

https://www2.swift.com/uhbonline/books/public/en uk/al 2 0 autoc inst user guide... 22/12/2012
Installation 204 USS ed EA DOCU AEH S337 AB 1982/13 Page 102 brasdeet 8

 

Standards MT Alliance Lite web interface Comment

 

 

Field} Field name (and format) Tab Block Field name
tag

 

 

 

For known codes,
their Name, Address
and Country are
displayed for
convenience.

 

 

56D || Intermediary Institution Optional || Intermediary Bank Code || If the user selects
(name, and address Bank Name Other as Bank Code
format) Address 1 type, then the
Address 2 entered Bank Code
Address 3 (preceded by a
Country single slash), Name,
Address, and
Country are put in
56D.

 

 

57A || Account With Institution || Required || Beneficiary Bank Code || Bank code type drop
(BIC format) Bank -down must be set
to SWIFT, FW, or
RT. A BIC must be
entered in Bank
Code, or selected
from the BIC
Directory. For known
BICs, their Name,
Address and
Country are
displayed for
convenience. FW is
an instruction that
says "Pay this BIC
by Fedwire” RT is an
instruction that says
"Pay this BIC by
(domestic) Real
Time Gross
Settlement System"

 

 

 

57B }j Account With Institution - AutoClient only - on
(location) the screen, 57A,
57C, or 57D can be
entered

 

 

57C || Account With Institution |) Required || Beneficiary Bank Code |] Bank code type drop
(clearing code format) Bank -down must not be
set to SWIFT or
Other. A clearing
code must be
entered or selected
from the directory.
For known codes,

thairNoame.Addradnc
CIO TNCOTES FPG OSS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Was this information helpfur?” Yes” No

https://www2.swift.com/uhbonline/books/public/en_uk/al_2 0 autoc inst user guide... 22/12/2012
Installation ang. Sch G6OO PPE Doct

HRB BeeesteA A oW9bo/13 Page 103 Rated ®

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Standards MT Alliance Lite web interface Comment
Field||Field name (and format) Tab Block Field name
tag
and Country are
displayed for
convenience.
57D || Account With Institution |) Required || Beneficiary Bank Code |j If the user selects
(name, and address Bank Name Other as Bank Code
format) Address 1 type, then the
Address 2 entered Bank Code
Address 3 (preceded by a
Country single slash), Name,
Address, and
Country are put in
56D.
59 || Beneficiary Customer Required || Beneficiary Name
Account
Address. 1
Address 2
Address 3
Country
59A || Beneficiary Customer - AutoClient only. On
the screen, 59 can
be entered.
70 Remittance Information || Optional || Instructions Information
for
Beneficiary
(Remittance
info)
T1A || Details of Charges Required || Amount & Charges Select from drop-
Dates down BEN, SHA, or
OUR. Default is
SHA. If BEN is
selected, then
Sender's Charges
becomes mandatory
(blue). If OUR is
selected, then
Sender's Charges is
cleared and greyed
out.
71F || Sender's Charges Required || Amount & Sender's only 1 occurrence
Dates Charges can be entered

 

 

https ‘www. swift. com/uhbonline/books/public/en_uk/al_ 2 0 autoc_inst_user_guide... 22/12/2012

Was this information helpful? Yes No

 

 

 
instal ae SE Re OBO P BE Hocatent Se rie dhB213 Page 104kHetéet

 

 

 

 

 

 

 

Standards MT Alliance Lite web interface Comment
Field|iField name (and format) Tab Block Field name
tag
71G || Receiver's Charges Required |! Amount & Receiver’s || currency of
Dates Charges Receiver's Charges
must be same as
currency of
Interbank Settled
Amount.
72 || Sender to Receiver Optional || Instructions Bank to Only 4 lines can be
Information Bank entered. If more

Instructions |/ than 4 are required,
then use AutoClient.

 

 

77B || Regulatory Reporting Optional || instructions Regulatory
Reporting

 

 

77T || Envelope Contents - AutoClient only

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Was this information helpful? Yes No

https://www2.swift.com/uhbonline/books/public/en_uk/al_2 0 autoc_inst_user_guide... 22/12/2012
NSE SR STE. TSMC OOOO DPT Dactitenes-2 EEG OL0ZN3 Page 105 bIeEdes 3

Payments - Institutional Transfer (MT 202)

How to enter Institutional Transfer (MT 202) fields in Alliance Lite screens:

Alliance Lite fields

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Standards MT Alliance Lite web interface Comment

Field|| Field name Tab Block Field name

tag || (and format)

20 ‘|| Transaction Required || Message Sender's If not entered, then this field is
Reference Identification || Ref automatically set to a unique
Number value (TNum). If entered, the

entered value overrules the
TNum.

21 Related Required || Message Related
Reference Identification || Ref

13C || Time - AutoClient only
Indication

32A || Value Date, Required || Amount & Credit Currency is set to the currency of
Currency Dates Amount the selected Debit Account
Code, Amount (Currency)

Value Date

52a || Ordering - AutoClient only
Institution

53A || Sender's - AutoClient only
Correspondent

53B || Sender's Required || Debit Account
Correspondent Account Number

53D || Sender's - AutoClient only
Correspondent

54a || Receiver's - AutoClient only
Correspondent

56A |] Intermediary Optional |} Intermediary || Bank Code || Bank code type drop-down must
(BIC format) Bank be set to SWIFT. A BIC must be

typed in Bank Code, or selected
from.the BIC. Directory, Eor.

 

 

 

 

 

 

 

 

 

 

 

 

 

Was this information helpful? Yes No

https://www2.swift.com/uhbonline/books/public/en_uk/al_2 0 autoc_inst_user_guide... 18/12/2012
Installation ang. Peer Gas EP dees Sed Ls Page 106 teEGes 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Standards MT Alliance Lite web interface Comment
Field|| Field name Tab Block Field name
tag || (and format)
known BICs, their Name,
Address and Country are
displayed for convenience.
56D || Intermediary Optional || Intermediary |} Bank Code }} Bank code type drop-down must
(name, and Bank Name not be set to SWIFT. A clearing
address Address 1 || code must be entered or selected
format) Address 2 || from the directory. For known
Address 3 || codes, their Name, Address and
Country Country are displayed for
convenience.
57A || Account With || Required |} Account Account Bank code type drop-down must
Institution (BIC With Bank Code || be set to SWIFT, FW, or RT. A
format) Institution BiC must be entered in Bank
Code, or selected from the BIC
Directory. For known BICs, their
Name, Address and Country are
displayed for convenience.
Entering an Account is optional,
and only possible if code type is
SWIFT. FW is an instruction that
says "Pay this BIC by Fedwire.”
RT is an instruction that says
"Pay this BIC by (domestic) Real
Time Gross Settlement System"
57B || Account With - AutoClient only. On the screen,
Institution 57A or 57D can be entered.
(location)
57D || Account With || Required |} Account Account Bank code type drop-down must
Institution With Bank Code || not be set to SWIFT. A clearing
(account or Institution Name code must be entered or selected
clearing code, Address 1 |! from the directory. For known
name, and Address 2 || codes, their Name, Address and
address) Address 3 | Country are displayed for
Country convenience.
58A |i Beneficiary Required || Beneficiary {| Account Bank code type drop-down must
Institution (BIC Institution Bank Code |} be set to SWIFT. A BIC must be
format) entered in Bank Code, or
selected from the BIC Directory.
For known BICs, their Name,
Address and Country are
displayed for convenience.
Entering an Account is optional.

 

 

https://www2.swift.com/ubbonline/books/public/en_uk/al_2 0 autoc inst user guide... 18/12/2012

Was this information helpful?

Is

 

 
Installation and User gob PPE SS GUeARS Danse 213 Page 107 aetdet3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Standards MT Alliance Lite web interface Comment
Field|| Field name Tab Block Field name
tag || (and format)
58D || Beneficiary Required || Beneficiary || Bank Code |} Bank code type drop-down must
Institution Institution Name not be set to SWIFT. A clearing
(name, and Address 1 || code must be entered or selected
address) Address 2 || from the directory. For known
Address 3 || codes, their Name, Address and
Country Country are displayed for
convenience.
72 ~~ ‘|| Sender to Optional {| Instructions || Sender to
Receiver Receiver
Information instructions

 

 

 

https://www2.swift.com/uhbonline/books/public/en_uk/al_2 0 autoc_inst_ user guide... 18/12/2012

Was this information helpful? Yes No

 

 
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 108 of 109

MT 202 COV General Financial Institution Transfer

 

MT 202 COV General Financial Institution Transfer

The MT 202 COV is a General Use message, that is, no registration in a Message User Group is necessary to
send and receive this message.

The message contains a mandatory sequence to include information on an underlying customer credit transfer
and has a maximum message length of 10,000 characters.

IMPORTANT: To trigger the MT 202 COV format validation, the user header of the message (block
3) is mandatory and must contain the code COV in the validation flag field 119
({3:{119:COV}}).

MT 202 COV Scope

This message is sent by or on behaif of the ordering institution directly, or through correspondent(s), to the
financial institution of the beneficiary institution.

It must only be used to order the movement of funds related to an underlying customer credit transfer that was
sent with the cover method.

The MT 202 COV must not be used for any other interbank transfer. For these transfers the MT 202 must be
used,

MT 202 COV Format Specifications

The MT 202 COV consists of two sequences:

* Sequence A General Information is a single occurrence sequence and contains information on the
financial institution transfér between the ordering institution and beneficiary institution.

* Sequence B Underlying Customer Credit Transfer Details is a single occurrence sequence and is used to
provide details on an individual underlying customer credit transfer that was sent with the cover method.

MT 202 COV General Financial Institution Transfer

 

 

 

 

 

 

 

 

 

 

 

 

 

Status | Tag Field Name Content/Options No,
Mandatory Sequence A General Information
M 20 | Transaction Reference Number 16x 1
M 21 | Related Reference 16x 2
woame >
oO 13C | Time Indication /8c/4in1 ix4In 3
——|
M 32A | Value Date, Currency Code, Amount 6in3lat5d 4
oO 52a _ | Ordering Institution AorD 5
Oo 53a | Sender's Correspondent A, B, or D 6
QO 54a | Receiver's Correspondent A, B, or D 7
oO 56a | Intermediary AorD 8

 

 

 

 

 

 

 

20 May 2009 5
Case 1:13-mc-00001-P1 Document 3-2 Filed 01/02/13 Page 109 of 109

Category 2 - Financial Institution Transfers for Standards MT November 2009

 

 

 

 

 

Status {| Tag Field Name Content/Options No.
O 57a ; Account With Institution A, B, or D 9
M 58a | Beneficiary Institution AorD 10
0 72 =| Sender to Receiver Information 6*35x 11

 

 

 

 

 

End of Sequence A General information

 

Mandatory Sequence B underlying customer credit transfer details

 

 

 

 

 

 

 

 

M 50a | Ordering Customer A, F, orK 12
oO 52a | Ordering Institution AorD 13
oO 56a | Intermediary Institution A, C, orD 14
oO 57a | Account With Institution A, B, C, or D 15
M 58a | Beneficiary Customer No letter option or A 16
Oo 70 | Remittance Information 4*35x 17
oO 72 | Sender to Receiver Information 6*35x 18
0. 33B- | Currency/Instructed Amount 3la15d 19

 

 

 

 

 

End of Sequence B underlying customer credit transfer details

 

 

M = Mandatory, O = Optional

 

 

MT 202 COV Network Validated Rules

ci If field 56a is present in sequence A, then field 57a must also be present in sequence A (Error code(s):
C81).

C2 if field 56a is present in sequence B, then field 57a must also be present in sequence B (Error code(s):
C68).

MT 202 COV Usage Rules

* All parties to the financial institution transfer (Sequence A) must be financial institutions.

* The transfer of funds between the ordering institution and the beneficiary institution is always related to an
underlying customer credit transfer. Field 21 must refer to the underlying transaction.

* The MT 202 COV must not be used to convey customer credit transfer instructions; it is used to order the
movement of funds related to an underlying customer credit transfer that was sent with the cover method.

* The MT 202 COV must not be forwarded to the beneficiary financial institution for reporting purposes.

MT 202 COV Market Practice Rules

Guidelines for the use of the message have been published by the Payments Market Practice Group (PMPG).

For more details, see the relevant market practice document on www.pmpg.info.

 

6 Message Reference Guide
